UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

GLOBAL GAMING PHILIPPINES, LLC,

           Plaintiff,
                                           No. 21 Cv. 2655 (LGS) (SN)
     vs.

ENRIQUE K. RAZON, JR.;
BLOOMBERRY RESORTS AND HOTELS
INC.; AND SURESTE PROPERTIES, INC.,   SECOND AMENDED COMPLAINT
           Defendants.                JURY TRIAL DEMANDED
I.     INTRODUCTION

       1.      Plaintiff Global Gaming Philippines, LLC (“Plaintiff” or “GGAM”) brings this

action as a creditor of defendants Bloomberry Resorts and Hotels Inc. (“BRHI”) and Sureste

Properties, Inc. (“Sureste”; together with BRHI, the “Debtor Defendants”), with a foreign arbitral

award (the “Final Award”) against the Debtor Defendants in the amount of approximately

$296,562,709.02, exclusive of post-award interest. GGAM now seeks to recognize the Final

Award and enforce that liability within the United States against Enrique K. Razon, Jr. (“Razon”)

– who dominates and controls the Debtor Defendants as part of his global enterprise.

       2.      Razon, a Philippine national with extensive ties to the United States, inherited his

father’s port management business.       Over time, Razon expanded that business to a global

enterprise that now spans a variety of industries, including shipping, ports, energy, natural

resources, and hospitality, and includes operations in numerous jurisdictions, including the United

States. Along the way, Razon leveraged his political and business relationships, influence in

Philippine society, and international connections to establish himself as the second wealthiest

businessperson in the Philippines.

       3.      Razon accumulated his personal wealth through careful management of an

enterprise of global companies over which he exerts complete domination and control. Razon

employs a cadre of loyal operatives who devised and constructed a personal enterprise to serve

Razon’s two primary objectives: (i) protect his personal wealth from creditors and other

stakeholders, and (ii) retain his tight control over every portion of his enterprise. To that end,

Razon regularly appoints his trusted agents to management and other leadership positions across

his enterprise, including the Debtor Defendants and the other entities discussed below, and uses

those individuals to form, fund, and manage the entities at his instruction and for his personal gain.
       4.      In 2011, Razon set out to develop a new branch of his enterprise: an ultra-luxury

casino and resort in Manila. As a key step in that effort, Razon came to the United States to solicit

the assistance of GGAM, a world-class casino operator and gaming management company. Razon

convinced GGAM to provide substantial assistance to Razon through the Debtor Defendants – the

entities under which Razon was developing and ultimately would operate the integrated casino and

resort. As a result of GGAM’s guidance and support, the project – Solaire Resort and Casino

(“Solaire”) – opened to the public in March 2013 and was an overwhelming success. In just a

matter of months, the operation started turning a profit, and it continued to do so in each of the

following seven years. GGAM invested substantial resources, including tens of millions of dollars

of its own money, relying on Razon’s promise that GGAM would reap the rewards of that hard

work over the remainder of the parties’ ten-year contract.

       5.      Razon, however, viewed the project’s immediate success as an opportunity to

squeeze out the U.S.-based GGAM, seize GGAM’s legitimate economic rights for his own

personal benefit, and hide behind Philippine borders and its local courts when GGAM sought to

enforce those rights. In September 2013, only six months after Solaire opened, Razon – per his

design – caused the Debtor Defendants to unlawfully terminate the agreement with GGAM and

ultimately withhold tens of millions of dollars in fees and other consideration owed to GGAM.

Pouring salt on GGAM’s wound, Razon also leveraged his personal relationship with the head of

the Philippine Stock Exchange (“PSE”) to unlawfully prevent GGAM from selling its equity

interest in the project – an obstructive effort Razon continues to this day.

       6.      After years of protracted arbitration proceedings – delayed in large part by the

Debtor Defendants – a three-member arbitral tribunal seated in Singapore and acting under the

UNCITRAL Rules issued a series of orders and awards confirming that Razon, acting through the




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Debtor Defendants, engaged in actions that were unlawful, meritless, and caused GGAM to suffer

damages in the approximate amount of $296,562,709.

        7.      Despite expressly agreeing to arbitration in the Debtor Defendants’ agreement with

GGAM and then submitting to UNCITRAL arbitration, Razon has brazenly shirked the arbitral

tribunal’s authority, orders, and awards, even after those awards were affirmed by the High Court

of Singapore and the Singapore Court of Appeal. Instead, Razon’s actions demonstrate his belief

that he and his wealth are sufficiently protected from legal consequences by virtue of (i) his

influence in the Philippines and its local courts and (ii) the corporate form of the various entities

he and his operatives devised within his enterprise (including the Debtor Defendants). Thus,

instead of paying GGAM the damages awarded to it, Razon continues to take action to obstruct

GGAM’s efforts to recover the amounts owed and exercise its rights with respect to its equity

interests in the project.

        8.      Through extensive investigation, GGAM has since discovered the extent of

Razon’s personal enterprise and the degree to which Razon exercises domination and control over

the entities thereof, including the Debtor Defendants. As set forth below, Razon and his agents

have formed a vast network of shell companies in the United States designed to conceal Razon’s

ownership of assets within this country’s borders and, on information and belief, have diverted

funds and other assets from the Philippine members of his enterprise, including the Debtor

Defendants, to fund such U.S. entities for the sole personal benefit of Razon and his family.

        9.      In short, Razon has used a team of trusted agents, his relationship within the PSE,

and the entities in his enterprise – including the Debtor Defendants – to cause significant damage

to GGAM, while also capturing and protecting the profits derived from GGAM’s efforts.




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       10.     GGAM now brings this action to establish Razon’s alter ego relationship with the

Debtor Defendants, to enforce GGAM’s rights under the Final Award against the assets of Razon,

to hold Razon separately liable for his willful interference with GGAM’s assets, and to prevent the

inequitable result that would otherwise occur if Razon were permitted to continue to hide behind

Philippine borders and the corporate form he has abused.

II.    THE PARTIES

       A.      Global Gaming Philippines, LLC

       11.     Plaintiff Global Gaming Philippines, LLC is a limited liability company organized

under the laws of the State of Delaware, with its registered office located at 251 Little Falls Drive,

Wilmington, Delaware 19808. GGAM is an affiliate of Global Gaming Asset Management, LLC,

a casino operator and gaming management company with extensive experience in developing and

operating highly successful integrated casino resorts. GGAM’s three-member senior executive

team possesses over 100 years of collective experience operating some of the largest and most

sophisticated integrated casino resorts in the world, including the Las Vegas Sands, the Marina

Bay Sands in Singapore, and the Venetian Las Vegas.

       B.      Enrique K. Razon, Jr.

       12.     Defendant Enrique K. Razon, Jr. is a Philippine national who owns real property in

New York (including a residence in Manhattan, where he routinely resides when not in the

Philippines) and elsewhere in the United States, and owns and operates business interests in the

United States through various shell entities and holding companies, as described below. Razon

dominates and controls each of the Debtor Defendants and the Alter Ego Entities (defined below)

through his direct and indirect ownership of those entities, each of which, on information and

belief, were formed at his direction and are operated for his benefit. Specifically, at all relevant

times the Debtor Defendants and Alter Ego Entities were operated by a group of loyal operatives,


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including employees, officers, and directors of the Debtor Defendants and the Alter Ego Entities,

who at all times were employed at the will of Razon, and acted under the direction and control,

and for the benefit of Razon personally (such individuals, including those non-party employees,

officers, and directors of the Debtor Defendants identified below, are referred to herein collectively

as the “Razon Agents”).

       C.      The Debtor Defendants

       13.     Defendant Bloomberry Resorts and Hotels Inc. is a company organized under the

laws of the Republic of the Philippines, with its headquarters located at The Executive Offices,

Solaire Resort and Casino, 1 Asean Avenue, Entertainment City, Tambo, Parañaque City,

Philippines. BRHI owns and operates the gaming elements of Solaire in Manila, and holds the

gaming license issued by the Philippine Amusement and Gaming Corporation (“PAGCOR”), the

Philippine gaming authority. BRHI is a wholly-owned subsidiary of defendant Sureste, which is

owned and controlled by Razon through his other entities as set forth below.

       14.     Defendant Sureste Properties, Inc. is a company organized under the laws of the

Republic of the Philippines, with its headquarters also located at The Executive Offices, Solaire

Resort and Casino, 1 Asean Avenue, Entertainment City, Tambo, Parañaque City, Philippines.

Sureste owns and operates the non-gaming elements of Solaire, including the real property, hotel,

and restaurant operations. Sureste is owned by defendant BRHI (9.34%) and Bloomberry Resorts

Corp. (90.66%), each of which are owned and controlled by Razon through his other entities as set

forth below.




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III.   THE NON-PARTY ALTER EGO ENTITIES1

       A.      The Energy Entities

       15.     Collingwood Investment Company Limited (“Collingwood Cayman”) is a limited

company formed under the laws of the Cayman Islands. Razon is the sole director of

Collingwood Cayman, and on information and belief, Collingwood Cayman is Razon’s personal

holding company that serves as his offshore funding entity. Collingwood Cayman wholly owns

Collingwood Oil & Gas Holdings, LLC and Asia Arrow Limited.

       16.     Collingwood Oil & Gas Holdings, LLC (“Collingwood Holdings”) is a limited

liability company formed under the laws of the State of Delaware, with its principal place of

business in Harris County, Texas. Collingwood Holdings is a wholly-owned subsidiary of

Collingwood Cayman, which is owned and controlled by Razon. On information and belief,

Collingwood Holdings was formed in late 2016 to serve as an intermediary parent company

between Collingwood Cayman – Razon’s offshore funding entity – and Collingwood USA, Inc.

and Collingwood Brookshire USA, Inc., which had acquired energy holdings in the United States.

       17.     Collingwood USA, Inc. (“CUSA”) is a corporation organized under the laws of the

State of Delaware, with its principal place of business in Harris County, Texas. CUSA is a wholly-

owned subsidiary of Collingwood Holdings. Razon serves as the President of CUSA and, on

information and belief, appointed Jose Eduardo Alarilla to serve as the Director of CUSA. Mr.

Alarilla is a longtime associate of Razon and serves in leadership roles in a number of Razon’s

other entities, including Vice Chairman of non-party Bloomberry Resorts Corp. and President of

defendant Sureste.




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 The entities identified in this section are referred to in this Complaint collectively as the “Alter
Ego Entities,” and each individually as an “Alter Ego Entity.”


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       18.     Collingwood Brookshire USA, Inc. (“CBUSA”) is a corporation organized under

the laws of the State of Delaware, with its principal place of business located in Harris County,

Texas. CBUSA is a wholly-owned subsidiary of Collingwood Holdings. Razon serves as the

President of CBUSA and, on information and belief, appointed Jose Eduardo Alarilla to serve as

the Director of CBUSA.

       19.     Collingwood Appalachian Minerals, LLC (“CAM”), formerly known as Mesa

Appalachian, LLC, is a limited liability company formed under the laws of the State of Delaware,

with its principal place of business located in Harris County, Texas. CAM is a wholly-owned

subsidiary of CUSA.

       20.     Collingwood Cayman, Collingwood Holdings, CUSA, CBUSA and CAM are

referred to collectively in this Complaint as the “Energy Entities” and individually as an “Energy

Entity.”




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       21.     On information and belief, Razon dominates, controls, and owns 100% or

substantially all of each of the Energy Entities through a corporate structure depicted below:




       B.      The Real Estate Entities

       22.     Asia Arrow Limited (“Asia Arrow”) is a limited company formed under the laws

of the British Virgin Islands, with its principal place of business located in New York, New York.

Asia Arrow is a wholly-owned subsidiary of Collingwood Cayman, which is owned and controlled

by Razon. On information and belief, Asia Arrow was formed for the purpose of acquiring and



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holding Razon’s beneficial ownership of his residence at The Plaza, located at the intersection of

Fifth Avenue and Central Park South, at 768 Fifth Avenue, Penthouse 2001, New York, New York.

       23.     Rizolina LLC (“Rizolina”) is a limited liability company formed under the laws of

the State of New York with its principal place of business located in New York, New York. On

information and belief, Rizolina is owned and controlled, directly or indirectly, by Razon, and was

formed for the purpose of acquiring and holding Razon’s beneficial ownership of the real property

at 211 East 13th Street, Penthouse 1G, New York, New York. On information and belief, Razon

selected his spouse, Felicia S. Razon, to serve as Rizolina’s sole named member, and appointed

Medel Payumo – Razon’s longstanding agent in New York – to serve as the registered agent for

Rizolina.

       24.     Ensara LLC (“Ensara”) is a limited liability company formed under the laws of the

State of New York with its principal place of business located in New York, New York. On

information and belief, Ensara is owned and controlled, directly or indirectly, by Razon, and was

formed for the purpose of acquiring and holding Razon’s beneficial ownership of the real property

at 211 East 13th Street, #6A, New York, New York. On information and belief, Razon selected

his spouse, Felicia S. Razon, to serve as Ensara’s sole named member, and appointed Medel

Payumo – Razon’s longstanding agent in New York – to serve as the registered agent for Ensara.

       25.     Nozar LLC (“Nozar”) is a limited liability company formed under the laws of the

State of New York with its principal place of business located in New York, New York. On

information and belief, Nozar is owned and controlled, directly or indirectly, by Razon, and was

formed for the purpose of acquiring and holding Razon’s beneficial ownership of the real property

at 100 Barclay Street, #28D, New York, New York. On information and belief, Razon selected




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his spouse, Felicia S. Razon, to serve as Nozar’s sole named member, and appointed Medel

Payumo – Razon’s longstanding agent in New York – to serve as the registered agent for Nozar.

       26.    Bowery Bay LLC (“Bowery”) is a limited liability company formed under the laws

of the State of New York with its principal place of business located in New York, New York. On

information and belief, Bowery is owned and controlled, directly or indirectly, by Razon, and was

formed for the purpose of acquiring and holding Razon’s beneficial ownership of the real property

at 21-30 44th Drive, Penthouse B, Long Island City, New York. On information and belief, Razon

selected his spouse, Felicia S. Razon, to serve as Bowery’s sole named member, and appointed

Medel Payumo – Razon’s longstanding agent in New York – to serve as the registered agent for

Bowery.

       27.    Campanilla LLC (“Campanilla”) is a limited liability company formed under the

laws of the State of New York with its principal place of business located in New York, New York.

On information and belief, Campanilla is owned and controlled, directly or indirectly, by Razon,

and was formed for the purpose of acquiring and holding Razon’s beneficial ownership of the real

property at 21-30 44th Drive, Penthouse J, Long Island City, New York. On information and belief,

Razon selected his spouse, Felicia S. Razon, to serve as Campanilla’s sole named member, and

appointed Medel Payumo – Razon’s longstanding agent in New York – to serve as the registered

agent for Campanilla.

       28.    Fesara LLC (“Fesara”) is a limited liability company formed under the laws of the

State of New York with its principal place of business located in New York, New York. On

information and belief, Fesara is owned and controlled, directly or indirectly, by Razon, and was

formed for the purpose of acquiring and holding Razon’s beneficial ownership of the real property

at 44 Carmine Street, New York, New York. On information and belief, Razon selected his spouse,




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Felicia S. Razon, his daughter, Katrina S. Razon, and his son, Enrique S. Razon, IV, to serve as

the named members of Fesara, and appointed Medel Payumo – Razon’s longstanding agent in New

York – to serve as the registered agent for Fesara.

       29.     11 Essex Street Realty LLC (“Essex”) is a limited liability company formed under

the laws of the State of New York with its principal place of business located in New York, New

York. On information and belief, Essex is owned and controlled, directly or indirectly, by Razon,

and was formed for the purpose of acquiring and holding Razon’s beneficial ownership of the real

property at 11 Essex Street, New York, New York. On information and belief, Razon selected his

spouse, Felicia S. Razon, his daughter, Katrina S. Razon, and his son, Enrique S. Razon, IV, to

serve as the named members of Essex, and appointed Medel Payumo – Razon’s longstanding agent

in New York – to serve as the registered agent for Nozar.

       30.     Asia Arrow, Rizolina, Ensara, Nozar, Bowery, Campanilla, Fesara, and Essex are

referred to collectively in this Complaint as the “Real Estate Entities” and each individually as a

“Real Estate Entity.”

IV.    SUBJECT MATTER JURISDICTION AND VENUE

       31.     The Court has jurisdiction over Plaintiff’s claims under 9 U.S.C. § 203, 28

U.S.C. § 1331, and 28 U.S.C. § 1367. Venue is proper in this district under 9 U.S.C. § 204 and

28 U.S.C. § 1391(b).

V.     FACTUAL BASIS FOR CLAIMS

       A.      Razon’s Global Enterprise

               i.       Background

       32.     Razon sits atop an expansive and interconnected conglomerate of business

entities, holding companies, and shell corporations spanning several sectors and industries,

including port management, hospitality, energy, and other natural resources. Through the


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operation of his enterprise, Razon has accumulated significant wealth and been identified as the

second-wealthiest billionaire in the Philippines in 2021.

       33.      Razon’s global empire did not materialize overnight. Razon’s father, Enrique M.

Razon, Sr., was one of the wealthiest and most successful businesspersons in the Philippines in his

time, having rebuilt the family’s port management business after World War II – a business

Razon’s grandfather founded in the early 1900s.

       34.      Building on the success of his predecessors, Razon expanded the family business

both in reach and breadth, seizing on the opportunities presented by the global economy of the past

30 years. As his enterprise grew outside the Philippines, so did Razon’s desire to be recognized

and treated as a legitimate player on a global level. To that end, he typically spends more than 200

days of the year traveling, pursuing business opportunities, and building his personal wealth

outside the Philippines.

       35.      Over time, Razon looked to the United States for opportunities to continue building

his family’s wealth. Razon developed a particular fondness for New York and, as set forth below,

has invested tens of millions of dollars to acquire real estate in and around New York City,

including a penthouse apartment at The Plaza in Manhattan, where he and his family principally

reside when not in the Philippines, and from which he frequently operates and manages the Alter

Ego Entities.

       36.      As Razon expanded his enterprise and sought to create a legacy of personal wealth

for himself and his children, he consistently maintained complete domination and control over the

operations of his enterprise, ensuring his business lines are each operated through convenient shell

companies and conduits he controls, and as a “family business” for his benefit. To ensure that

control, as set forth more fully below, Razon enlists a close group of loyal personnel to “manage”




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day-to-day operations across his enterprise, in accordance with his direction and for his benefit.

As Razon explained to the Wall Street Journal in 2014, the management of his businesses is “[n]ot

democratic. Things filter up to me and I make decisions right away. Quickly. Most often

unilaterally.”

        37.      As described in more detail below, Razon built on the cornerstone company

inherited from his father and expanded his reach into gaming and entertainment. His foray into

the lucrative, but highly complex and capital-intensive gaming industry created opportunities to

transact with respected world-class partners from outside the Philippines, including GGAM. In

his attempt to step onto the world stage, however, Razon always maintained tight control over his

enterprise and used that control to manipulate and maneuver assets between and among the entities

he controls so that he could disregard the rule of law, divert assets away from entities that incurred

significant international contractual or legal obligations, and frustrate his business partners’ efforts

to hold him responsible for his obligations. As described below, he did exactly that to GGAM –

carefully manipulating assets among his entities so that the Debtor Defendants, on paper, would

only maintain assets in the Philippines, where Razon was comfortable the local courts would

protect him, while he was free to use those assets and the fruits of his enterprise around the world,

including in the United States.

                 ii.    International Container Terminal Services, Inc.

        38.      The cornerstone of Razon’s enterprise is the company founded by his father—

International Container Terminal Services, Inc. (“ICTSI”). Headquartered in Manila, ICTSI is one

of the largest shipping, port, and container terminal operators in the world. Over time, ICTSI’s

operations have expanded to include more than 30 port terminals in 19 countries across the globe,

including the United States.




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       39.     Today, in addition to shipping and port management, and as set forth more fully

below, the Razon enterprise includes investments in the United States and globally in gaming and

hospitality, power, mining, and oil and gas exploration. Razon is the Chairman and CEO of the

Bloomberry entities (discussed below) and their gaming and hospitality assets throughout Asia.

Razon is also the largest shareholder of Apex Mining Co., Inc., a Philippines-based mining

company, and owns and controls MORE Electric and Power Corp., formerly known as Monte Oro

Resources and Energy, Inc., which handles power distribution in the Philippines and has faced

political backlash after its takeover of Panay Electric Co.’s distribution assets in Iloilo City. Razon

also owns various shell companies through which he has invested hundreds of millions in acquiring

mineral interests and oil and gas assets in the United States.

       40.     Despite expanding ICTSI in the global market and capitalizing on other

opportunities within the Philippines, Razon remained determined to demonstrate that his success

was not simply a byproduct of circumstance or inheritance, but rather the fruits of personal

ingenuity by an international player. Thus, by the early 2000s, Razon set his sights on building a

new branch of his global enterprise: gaming and hospitality.

               iii.    Razon’s Gaming Business

       41.     Razon’s expansion into hospitality coincided with the emergence of gaming

opportunities in the Philippines. Specifically, in 2007, in an effort to benefit from Asia’s emerging

gaming market and develop the Philippines into a world-class tourism and gaming destination, the

Philippine Government liberalized gaming by authorizing the issuance of four highly-sought-after

provisional licenses for gaming development and operations within Entertainment City, a special

economic zone in Metro Manila.

       42.     Razon recognized the potential of Asia’s gaming market and saw the opportunity

to capitalize on an attractive gaming option in the Philippines. In addition to a favorable gaming


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tax regime and regulatory environment, the Philippines offered certain operational advantages,

including low labor costs and a comparatively young, English-speaking work force.

         43.      Razon also sought to make a name for himself in a new industry on a global stage.

By successfully entering the gaming industry, Razon could align himself with world-renowned

gaming icons such as Sheldon Adelson and Steve Wynn.2 To that end, Razon developed a concept

for an integrated ultra-luxury casino and resort in Manila, which he envisioned would become the

“Las Vegas of the Philippines.”

         44.      On April 8, 2009, Razon, through his wholly-owned entity defendants BRHI and

Sureste, obtained the first provisional license to construct and operate Solaire, the first integrated

casino and resort in the Philippines.

         B.       Razon Solicits GGAM in the United States

         45.      Preparing to develop Solaire, Razon recognized two realities: first, he would need

to attract significant outside funds to ensure his first foray into the capital-intensive gaming

industry was a success; and second, despite his background in shipping and port management,

Razon lacked experience and expertise in the gaming and resort industries. As a result, Razon set

out to engage top-level consultants and operational executives with the relevant expertise and

industry clout.

         46.      With Solaire, Razon sought to duplicate the successful models used by Las Vegas’s

integrated casino resorts. To design Solaire, Razon initially engaged Nevada-based Steelman

Partners, LLP, the same company that designed JW Marriott (Las Vegas), The Plaza Hotel and

Casino (Las Vegas), Harrah’s Atlantic City (New Jersey), MGM Foxwoods (Connecticut), Sands




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    As set forth below, Razon would later purchase his penthouse in The Plaza from Steve Wynn.


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Macau, and The Four Seasons Macau. Razon also hired Philippines-based contractors Design

Coordinates, Inc. and D.M. Consunji, Inc. to oversee Solaire’s construction.

       47.     Razon then sought out the interest and expertise of Global Gaming Asset

Management, LLC (“Global Gaming”) – a casino operator and gaming management company with

significant experience in constructing, developing, and operating casino-resort properties in Las

Vegas and around the world. Specifically, Razon sought to harness Global Gaming’s deep

expertise with planning, technical, advisory, management, and operational services for Solaire,

both before and after it commenced commercial operations. Razon also sought to leverage Global

Gaming’s vast network of connections and clout with potential institutional investors, with an eye

toward raising necessary funds in the capital markets.

       48.     Global Gaming is a global leader in developing world-class integrated casino-hotel

resort properties. Its management principals, William P. Weidner, Bradley H. Stone, and Garry

W. Saunders, have been responsible for opening over 20 landmark integrated casino resorts across

the United States and Asia, and all previously held top-level executive positions at prominent

gaming companies, including Las Vegas Sands. Combined, Global Gaming’s three principals

have over 100 years of hospitality, gaming, real estate, retail, and entertainment experience, and

have helped to design, develop, and operate some of the world’s largest, most innovative, and most

recognizable integrated casino and resort properties, including the Venetian Las Vegas, The

Palazzo, and Marina Bay Sands Singapore.

       49.     By early 2011, with construction of Solaire already underway, Razon sought to hire

an executive to oversee Solaire’s day-to-day development and operations. Razon retained U.S.-

based executive search firm SpencerStuart, which recommended that Razon arrange an initial

meeting with Global Gaming.




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       50.     In early 2011, Razon approached Global Gaming about collaborating on Solaire.

Soon after, in March 2011, Razon traveled to Las Vegas to meet with Mr. Weidner and Mr.

Saunders, two of Global Gaming’s management principals, to discuss Global Gaming’s potential

role in the development and operation of Solaire. At the initial meeting in Las Vegas, Mr. Weidner

and Mr. Saunders explained to Razon that Global Gaming had a 50/50 joint venture partner for its

potential involvement with the Solaire project, the New York-based financial services firm, Cantor

Fitzgerald, L.P. (“Cantor”).3 Specifically, Mr. Weidner and Mr. Saunders explained that, in

partnership with Cantor, Global Gaming was seeking to identify, manage, and invest in resort and

gaming assets.    Mr. Weidner and Mr. Saunders further explained to Razon that Cantor’s

involvement brought important market credibility to a project pursued by the partnership, and the

ability to fund equity investment in such a project.

       51.     Razon recognized that Global Gaming’s advice and managerial oversight of Solaire

would allow him to establish a state-of-the-art operations infrastructure and achieve stellar

operational efficiency. Razon also recognized the importance of Global Gaming’s industry

relationships, as well as its extensive experience in designing operations infrastructure, and the

ability of its management principals to execute top-tier staffing, budgeting, strategic direction,

monitoring, and oversight of all aspects of Solaire’s operations. Razon recognized that Cantor’s

involvement, as the 50/50 joint venture partner with Global Gaming, provided an avenue to access

significant financial resources and to associate with a proven, credible name in the U.S. capital

markets. Indeed, as detailed below, Razon and the Debtor Defendants later exploited Cantor’s

involvement to sway other investors, and Cantor ultimately invested tens of millions into Solaire




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 Global Gaming and Cantor are each 50% owners of GGAM through GGAM’s parent company,
Global Gaming Asset Management, L.P.


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through GGAM. Finally, Razon recognized that Cantor brought specific high-level gaming

expertise through an affiliated entity, Cantor G&W (Nevada), L.P. (dba Cantor Gaming), which

had developed sophisticated sports wagering technology – a fact touted by Mr. Weidner and Mr.

Saunders during their March 2011 meeting with Razon.

       52.      Shortly after their initial meeting, Razon and Global Gaming began extensive

diligence and negotiations regarding the economic and operational terms under which GGAM

would manage Solaire and the management fees and equity interest GGAM would receive as

compensation.     To facilitate that process, the parties negotiated and ultimately executed a

confidentiality agreement (the “Confidentiality Agreement”), effective as of March 1, 2011,

intended to govern the parties’ dealings before finalizing definitive documentation.       Razon

recognized the importance of Cantor’s role and successful negotiations with Cantor in New York,

and caused the Debtor Defendants to expressly agree that New York law would govern the

Confidentiality Agreement and the exchange of information during the negotiation and diligence

processes.4

       53.      Over the course of six months, the parties negotiated the terms of a business

relationship with the primary goal of creating a world-class integrated casino and resort in the

Philippines. The primary component of the overall relationship between GGAM and Razon would

be GGAM’s provision of certain specific management services to Solaire in exchange for

management fees and an equity interest in the project.

       54.      At all times, Razon and the Debtor Defendants knew that Cantor’s agreement to the

terms of the relationship, including the economic terms, would be necessary if the parties were to




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  The terms of the Confidentiality Agreement were negotiated between Razon (directly and
through agents) and Cantor’s legal team in New York.


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reach a deal. As such, Razon and the Debtor Defendants negotiated the details of the GGAM

relationship directly with Cantor by email and phone to and from Cantor’s New York-based

headquarters for months, with Cantor’s legal and financial personnel directing the diligence

process, and the Debtor Defendants sending responses to Cantor’s document requests and

diligence checklists by email to Cantor in New York. On information and belief, during this same

time period Razon also traveled to New York and conducted negotiations with GGAM while

staying at his residence in The Plaza in Manhattan, both directly with GGAM and by directing

personnel of the Debtor Defendants from New York.

       55.     By June 2011, representatives from Cantor and Razon’s agents tentatively

scheduled a meeting in New York between Razon and Cantor’s CEO, at which the parties were to

execute a finalized agreement. However, the remaining negotiations over the terms became

strained, and Razon and his agents spent several more months heavily negotiating with Cantor by

email and phone calls to New York over what the Debtor Defendants termed “Cantor’s Issues.”

       56.     Indeed, as of July 2011, Razon and the Debtor Defendants’ personnel acting at his

direction were focused on attempting to resolve outstanding issues that were specifically raised by

Cantor regarding the terms of the parties’ proposed relationship:5




5
  The email below was produced with redactions, as shown, by the Debtor Defendants in the
arbitration with GGAM.


                                                19
       57.     Ultimately, in late summer 2011, Global Gaming, Cantor, and Razon agreed on the

structure of a collaboration under which GGAM would provide the requested services and

resources in exchange for management fees and, importantly, would receive the right to participate

in the upside equity value of Solaire resulting from GGAM’s involvement. In addition, and

material to GGAM’s agreement to work with Razon on Solaire, Razon granted GGAM the right

to participate in the management of any other similar casino projects that Razon might pursue,

whether under the same corporate structure or otherwise. This participation right was important

to Global Gaming and Cantor in light of the intended investment by Cantor, through GGAM, of

tens of millions of dollars into Solaire. GGAM sought to protect that investment by ensuring




                                               20
Razon did not open a competing project that could negatively affect the value of GGAM’s interest

in Solaire without giving GGAM the right to also participate in that competing project.

       58.     The parties proceeded to memorialize the terms of their relationship in several

documents, including (a) a Management Services Agreement (the “MSA”) between GGAM and

the Debtor Defendants under which Razon would benefit from GGAM’s management and

technical services and its unparalleled experience in the casino industry, (b) an Equity Option

Agreement (the “EOA”), and (c) a Participation Agreement.

       C.      Razon Engages GGAM

       59.     On or about September 9, 2011, Cantor emailed the GGAM-signed MSA from its

New York headquarters to the Debtor Defendants in the Philippines, and the Debtor Defendants

sent the fully-executed MSA back to Cantor in New York by email. Under the MSA, GGAM was

to, among other things, provide management and technical services in the development and

construction of Solaire, and manage and supervise the operation of Solaire once constructed for a

period of ten years.6

       60.     In exchange for GGAM committing its resources to develop Solaire, Razon agreed

to compensate GGAM, in part, by sharing a material portion of the equity ownership of the project.

This equity component of the consideration to be paid was material to Cantor’s agreement, as a

joint venture owner of GGAM, to proceed with a relationship with Razon and Solaire.

Specifically, Clause 18.3 of the MSA provided that GGAM was granted the right to purchase from

Razon shares of the Debtor Defendants up to a 10% equity ownership interest of the Solaire

project. To facilitate that option right, Clause 18.3 required the parties to execute a further,

mutually acceptable EOA, which was to specifically include “a provision which will protect the


6
 The MSA had an initial term of five years, subject to automatic extension at GGAM’s option for
an additional five years.


                                               21
equity invested by GGAM … after the [MSA] is terminated under the terms of the [MSA].”

Finally, the parties agreed in Clause 18.3 that the EOA would include a grant to GGAM of co-

investment rights in competing casino projects alongside Razon, and on no worse economic terms

as those enjoyed by Razon.7

       61.     The MSA expressly recognized Cantor’s joint venture interest in GGAM. Indeed,

Clause 9.5 of the MSA expressly contemplated that GGAM may use affiliates of Cantor to provide

certain gaming-related services to be provided under the MSA. The MSA also included important

provisions demanded by Cantor in the parties’ negotiations. For instance, Clause 18.8 provides

that “Cantor Fitzgerald, L.P. or any affiliate of Cantor Fitzgerald, L.P. (excluding Global Gaming

Management L.P. and GGAM, or its directors, partners and/or officers)” are not subject to the

MSA’s non-competition provisions set forth in Clause 18.8 unless they are rendering services

under the MSA.

       62.     Ultimately, GGAM’s counterparties under the MSA were the Debtor Defendants

owned by Razon – BRHI, which held the provisional gaming license to operate Solaire’s gaming

operations in the Philippines, and Sureste, the parent company of BRHI, which would own the

hotel and non-gaming components of Solaire. Razon executed the MSA as the Chairman and CEO

of both Debtor Defendants.

       63.     While the Debtor Defendants were express parties to the MSA, it was understood

by all parties, and reflected in the MSA and other agreements, that the Debtor Defendants were

simply vehicles through which Razon was pursuing his personal gaming aspirations, and that

GGAM was in fact providing services to and investing its resources alongside Razon. For instance,



7
  The MSA was executed separately before finalizing the details of the EOA because, as Razon
later testified in the arbitration, he “needed GGAM to begin providing its management services
for the Solaire, so we agreed to execute the MSA.”


                                               22
in addition to the provisions granting GGAM the right to purchase equity from Razon and co-

invest alongside him in other projects, Clause 16.1 of the MSA granted GGAM the right to

terminate its services under the MSA in the event Razon no longer owned and controlled the

Debtor Defendants.8

       64.     At all times prior to and after execution of the MSA, Razon and the Debtor

Defendants knew and intended that a substantial portion of the services to be provided by GGAM

under the MSA would take place in the United States, including in New York. GGAM’s principals

each resided in the United States, and GGAM operated from both its offices in Las Vegas and

from Cantor’s offices in New York. In fact, approximately 85% of the services provided by

GGAM under the MSA were performed outside the Philippines, including in the United States.

For instance, GGAM personnel repeatedly met with vendors and potential tenants of retail space

at Solaire, including in Las Vegas and New York. GGAM recruited personnel for Solaire in the

United States. And as discussed further below, GGAM participated in numerous meetings and

conferences with potential and actual investors in the Solaire project in New York and elsewhere

in the United States.


       D.      Razon Restructures the Gaming Business

       65.     The MSA established a relationship pursuant to which the parties fully expected

that GGAM and its owners, including Cantor, would make considerable investments in Solaire

and its operations in the initial pre-launch phase of Solaire, and then would recover their



8
  Clause 16.1(c) of the MSA provided that if Razon continued to “own or control” the Debtor
Defendants following an IPO or backdoor listing of the Debtor Defendants, it would not constitute
a “change of control.” As set forth below, the Debtor Defendants were backdoor listed on the
Philippine Stock Exchange through a new partner company, Razon’s Bloomberry Resorts Corp.,
shortly after the MSA was executed, but Razon remained the overwhelming majority shareholder
and maintained control of the Debtor Defendants.


                                               23
investment and turn a considerable profit once Solaire was operational. Months prior to the

parties’ execution of the MSA – although not yet obligated to do so – GGAM began providing the

Debtor Defendants with input and assistance regarding the ongoing construction of Solaire, as well

as its planned design and layout. Upon executing the MSA, GGAM faithfully fulfilled its

obligations under the MSA.      GGAM resolved substantial construction problems caused by

Bloomberry’s general contractor and construction manager. GGAM led the successful effort to

rehabilitate the construction schedule and revamp the ineffective project management structure it

found, and its advice and involvement substantially improved Solaire’s design. On behalf of

Solaire, GGAM leveraged its contacts to recruit a world-class management team, including a Chief

Operating Officer, to ensure Solaire’s successful opening and operations. Additionally, GGAM

negotiated critical agreements for Solaire, including maintenance service agreements and

management and procurement agreements. GGAM developed and implemented detailed and

comprehensive business and marketing plans for Solaire, oversaw the development and

implementation of operating policies and procedures, and developed robust customer databases

with working lists of VIP customers and gaming junket operators9 for Solaire’s use.

       66.     Meanwhile, Razon restructured his gaming operation to accomplish two objectives:

raising needed capital from the public market and maintaining unfettered control of Solaire for his

personal and family benefit.




9
  GGAM provided significant value by establishing Solaire’s gaming junket operations. Junket
operators provide a steady flow of high-dollar gamblers (typically through coordinated gaming
tourism trips for foreign gamblers), and help establish a client casino as a target destination for
gaming tourism. Gaming junkets often serve as the primary means for a casino to build
relationships with “whales,” high-stakes gamblers who might frequent the casino on a regular
basis.


                                                24
       67.     Specifically, Razon established Bloomberry Resorts Corp. (“BRC”), a Philippine

corporation, to serve as the vehicle through which he would raise necessary outside capital through

public capital markets. At the time, Razon owned all of the equity interests in Sureste through a

shell holding company, Prime Metroline Transit Corp. (“Prime”),10 and BRHI was a wholly-owned

subsidiary of Sureste.

       68.     To maintain control of Solaire and its value for his own benefit, Razon first ensured

that he and his group of loyal personnel from ICTSI would remain in control of BRC following a

public offering. For instance, Razon appointed Estella Tuason-Occeña (“Occeña”) – an executive

officer at ICTSI, a Director and the Treasurer of Prime, and the Treasurer of both Sureste and

BRHI – as the Chief Financial Officer and Treasurer of BRC. Occeña has long served as Razon’s

“right hand” and has managed his financial dealings across his enterprise and his other personal

finances.

       69.     Razon appointed Christian Gonzalez – Razon’s nephew, a Director of Prime and

the Senior Vice President of ICTSI – as a Director of BRC, Sureste, and BRHI.

       70.     Razon appointed Silverio “Benny” Tan – a Director and Corporate Secretary of

Prime and ICTSI, and the Corporate Secretary of Apex Mining Co. – as the Corporate Secretary

at BRC, Sureste, and BRHI.




10
  Prime Metroline Transit Corp. is the predecessor in interest to Prime Metroline Holdings, Inc.
In or about January 2021, Prime Metroline Holdings, Inc. changed its name to Prime Strategic
Holdings, Inc., which is the current shell entity through which Razon majority-owns and controls
BRC and the Debtor Defendants. The term “Prime” is used interchangeably herein to refer to
those entities.


                                                25
       71.     Razon also installed other common trusted directors and officers across

“Bloomberry” entities, including Thomas Arasi as the President of BRC, Sureste and BRHI, and

Donato Almeda and Jose Eduardo Alarilla (“Alarilla”)11 as Directors of BRC and BRHI.

       72.     Razon maintained ultimate management authority at each of BRC, Sureste, and

BRHI, serving as the Chairman and Chief Executive Officer of BRC, and the Chairman of both

Sureste and BRHI.

       73.     Once this structure was established, Razon caused Prime to transfer its shares in

Sureste to BRC in exchange for shares in the newly-formed BRC.12

       E.      GGAM Acquires its Equity Position and Participation Rights

       74.     Having developed a corporate structure that would preserve his domination and

control of the Debtor Defendants, Razon prepared BRC to raise public capital through a backdoor

listing on the PSE. Razon’s intention in pursuing the backdoor listing was to access capital through

the public markets and ultimately drive up the value of his personal equity stake, while maintaining

tight control over all aspects of the governance, operation, and management of BRC and the Debtor

Defendants. Indeed, after the backdoor listing, Razon still owned approximately 90 percent of the

equity shares in BRC.

       75.     At the same time Razon was preparing BRC for its backdoor listing, GGAM and

Razon were negotiating the terms of the EOA that was expressly contemplated in the MSA. Razon

and the Debtor Defendants negotiated the terms of that agreement, and the corresponding

Participation Agreement, directly by email and phone with Cantor in New York and in person in


11
   Alarilla is also a Director of Razon’s Apex Mining Co. As set forth below, Alarilla serves as a
nominee director of Razon’s U.S. shell companies through which Razon holds his mineral interests
and oil and gas assets.
12
   To facilitate a backdoor listing on the Philippine Stock Exchange, Razon transferred his
ownership interest of the Debtor Defendants to Prime, his personal holding company, on
September 30, 2011.


                                                26
the United States. For instance, in or around October 2011, Occeña and Donato Almeda traveled

to the United States to meet with Cantor and GGAM at the Cosmopolitan Hotel in Las Vegas, and

later at a dinner with Cantor’s outside counsel, to negotiate the specific terms of those agreements.

       76.     On or about March 9, 2012, BRC became publicly traded via a backdoor listing on

the PSE, where it continues to trade today under the symbol BLOOM:PM.

       77.     On April 16, 2012, GGAM entered into the EOA required in Clause 18.3 of the

MSA, pursuant to which Razon’s holding company, Prime, granted GGAM an option to purchase

921,184,056 shares in BRC (the “Option Shares”) at an agreed-upon strike price of 1.67 Philippine

Pesos (“PHP”) per share.

       78.     As contemplated in the MSA, the EOA further provides GGAM the express right

to co-invest with Razon on any competing casino projects Razon may pursue in the Philippines,

whether using the Debtor Defendants, BRC, or any other Razon-affiliated entity. To that end, in

connection with executing the EOA, BRC and Prime delivered to GGAM a countersigned

Participation Agreement, which would become effective upon GGAM’s exercise of its right to

purchase the Option Shares.

       79.     Alarilla executed the EOA, at Razon’s direction, on behalf of BRC and Prime.

Clause 11.3 of the EOA requires any notices to Prime to be delivered to Razon, as Chairman and

CEO of Prime, and to his lieutenant Occeña at her ICTSI office.

       80.     The Participation Agreement delivered under the EOA, among other things,

memorializes GGAM’s right of first refusal to manage any competing casino projects pursued by

Razon in the Philippines, and GGAM’s right to co-invest in any such Razon projects. The

Participation Agreement further requires Razon (through Prime) to repurchase the Option Shares




                                                 27
from GGAM at fair market value upon GGAM’s demand if “the MSA terminates for any reason

whatsoever (other than a willful breach of the MSA by [GGAM]).”

          81.   Occeña executed the Participation Agreement, at Razon’s direction, on behalf of

BRC and Prime. Clause 9.2 of the Participation Agreement requires any notices to Prime to be

delivered to Razon, as Chairman and CEO of Prime, and to his lieutenant Occeña at her ICTSI

office.

          F.    Razon and the Debtor Defendants Target U.S. Investment in Solaire

          82.   Razon recognized that in addition to any funds invested by GGAM under the EOA,

the Debtor Defendants would need additional capital investment from third parties, including

institutional investors in the United States. Thus, Razon asked GGAM – as the managers of Solaire

– to participate in a “road show” in April and May 2012, to meet with potential investors in advance

of a “top-up” equity offering that specifically targeted U.S.-based investors. Recognizing the

importance of U.S. investors, the road show began in Washington, D.C., and ultimately included

presentations in New York, San Francisco, Boston, Kansas City, and Denver, which were attended

by Razon, Occeña, and other executives of the Debtor Defendants and GGAM.13 During the road

show presentations, Razon and the Debtor Defendants showcased GGAM’s involvement in

Solaire, and emphasized the fact that Cantor – a name brand in the financial markets – was

intending to provide a substantial equity investment under the EOA.

          83.   In advance of the road show, GGAM, Prime, BRC, and two of Razon’s other

personal holding companies, Falcon Investco Holdings, Inc. and Quasar Holdings, Inc., executed




13
 Other portions of the road show included meetings in Asia and the United Kingdom, in which
GGAM also actively participated.


                                                28
lock-up agreements in connection with the top-up offering. The parties expressly agreed these

agreements were to be governed by New York law, as was a placing agreement executed by BRC.14

       84.    On May 1, 2012, GGAM and Razon personally attended road show meetings with

potential investors together in New York City, after which GGAM, Cantor, Razon, and the Debtor

Defendants attended a “closing” dinner together in Manhattan to celebrate the successful

conclusion of the road show. Razon used BRHI’s Gulfstream jet to transport himself to and from

New York for these important aspects of the road show, and stayed in and conducted business

from his residence at The Plaza.

       85.    Throughout the negotiations and performance of the MSA, Razon conducted

substantial BRHI business in New York. Indeed, between his initial meeting with Global Gaming

in March 2011 and the termination of the MSA on September 12, 2013, the same BRHI Gulfstream

jet used by Razon in connection with the road show made approximately 25 flights to Teterboro,

New Jersey, for the purpose of transporting Razon to and from New York City.

       86.    Ultimately, GGAM played a critical, active role in the highly-successful road show

– a role that Razon testified was a “basic, anticipated component” of GGAM’s responsibilities as

managers of Solaire under the MSA. The top-up offering ultimately closed on May 3, 2012, at

PHP 7.50 per share, and raised more than $209 million. Over half of the firms that participated

and invested in the top-up offering were headquartered in the United States, of which almost a

third of those firms were headquartered in New York (investing over $32 million).

       87.    Razon and the Debtor Defendants continued to spend considerable time working

with GGAM in both New York and the greater United States to garner and maintain investor



14
  The New York choice of law provisions in these agreements emphasized Razon’s and the Debtor
Defendants’ focus on providing comfort to and attracting investments from U.S. investors,
particularly those based in New York where Cantor was located and Razon frequently resided.


                                              29
support. For instance, at Razon’s request, GGAM participated in presentations with the Debtor

Defendants at investor conferences in Boston and New York City from September 5-7, 2012.

Similarly, in November 2012, and at Razon’s request, GGAM also participated in investor

conferences with the Debtor Defendants in New York, San Francisco, and abroad. During one

such investor conference in November 2012, Occeña specifically touted Cantor’s involvement as

the joint venture partner of GGAM and the financial resources Cantor would commit to Solaire

when GGAM exercised its equity option under the EOA:




       88.    Besides the road show and numerous investor conferences in New York and the

greater United States, Razon also requested that GGAM assist with other Solaire business in New

York in performance of its management role under the MSA. For example:




       89.    By June 2012, largely as a result of the successful offering, Razon’s estimated net

worth more than doubled from an estimated $1.6 billion to an estimated $3.6 billion.

       90.    On or about December 20, 2012, Cantor provided notice from its New York

headquarters that GGAM was exercising its option under the EOA to purchase the Option Shares,




                                               30
with Cantor paying the approximately $37.43 million option price to Razon through his holding

company, Prime. That same day, GGAM executed and delivered the Participation Agreement.

         G.     Razon’s Continued Ownership and Control of the Debtor Defendants

         91.    As of the date this Action was filed, nine-and-a-half years after GGAM executed

the MSA, Razon continues to dominate and control the Debtor Defendants through his ownership

of BRC. Specifically, as reflected in the chart below, Razon owns approximately two-thirds of the

outstanding shares of BRC’s common stock through his personal holding companies, Prime

(53.83%), Razon & Co. Inc.15 (2.04%), and Quasar Holdings, Inc. (8.35%):




         H.     Razon Terminates the MSA to Shield the Profits from GGAM

         92.    On March 16, 2013, following GGAM’s investment of significant resources

through the two-plus-year development stage and capital raise, Solaire held its grand opening. As




15
     Razon & Co. Inc. was formerly known as Falcon Investco Holdings, Inc.


                                               31
a result of GGAM’s critical contributions to Solaire’s construction, development, and operations,

the property opened for commercial operation on time, on budget, and to rave reviews.

       93.     Following the opening, as it had during the development and pre-opening phases,

GGAM actively oversaw the progress of Solaire’s operations, both on-site and through the

management team it identified, recruited, and assembled. From the successful opening onwards,

Solaire performed consistent with Razon’s overall expectations as stated to investors.

       94.     Solaire’s gaming revenue was significant from the start and increased monthly.

Razon acknowledged Solaire’s initial success at the annual BRC shareholder meeting on June 24,

2013, noting: “Since opening day, the [Bloomberry Group] immediately began generating

revenues from Solaire’s gaming, hotel and food and beverage, and this has been rising steadily

even as I speak. Gaming was and continues to be the biggest contributor to revenues, closely

followed by hotel, food and beverages and other services.”

       95.     The highly successful launch of Solaire had dramatic personal implications for

Razon, who established himself as more than the so-called “Ports King” of the Philippines, but as

a gaming tycoon. Razon began pursuing casino development opportunities in other jurisdictions,

acquiring the JeJu Sun Casino in South Korea and, more recently, pursuing a potential integrated

casino and resort project in Japan.

       96.     Equally important, however, Solaire’s profitability and Razon’s control over the

Bloomberry entities (BRC, Sureste, and BRHI) presented a substantial economic opportunity for

Razon. Razon knew that GGAM stood to receive (and Razon’s entities would be required to pay)

a substantial cut of the profitable operations of Solaire under the MSA for a period of at least ten

years. In addition, the Option Shares GGAM had rightfully purchased from Razon were now




                                                32
extremely valuable, having appreciated materially since GGAM exercised the option, in large part

due to GGAM’s own efforts to launch Solaire.

       97.     Razon also knew he could leverage his contacts and influence in the Philippines in

any dispute with the U.S.-based GGAM, and attempt to hide behind the Philippine territorial

boundaries and its local judicial system should the need arise. Razon is a highly influential public

figure in Philippine society, and his family has long been associated with various Philippine

government regimes.

       98.     In addition to the Razon family’s prior association with the Marcos regime, Razon

has a close personal relationship with the former President of the Philippines, Gloria Macapagal-

Arroyo, and her husband, Jose Miguel Arroyo. Razon also has ties to Rodrigo Duterte, the current

President of the Philippines. He also maintains a close relationship with Hans Sicat (“Sicat”), the

former president of the PSE, the national stock exchange of the Philippines,16 which would prove

valuable in Razon’s efforts to interfere with GGAM’s sale of its BRC stock.

       99.     Razon is also highly visible and influential in Philippine society. Razon is the

chairman and financial backer (through his enterprise entities) of Pilipinas Golf Tournaments, Inc.,

which runs the Philippine Golf Tour. Razon previously owned a basketball team in the Philippine

Basketball League and is a significant donor to De La Salle University’s sports program. Indeed,

Razon donated PHP 50 million to the university in exchange for its construction of the Enrique M.

Razon Sports Center, named after Razon’s father. Razon is also a member of the American

Management Association, the U.S.-Philippines Society, and the World Economic Forum.




16
   The PSE is a private, for-profit corporation that is governed by its president and a board of
directors, and lists its own shares on the exchange under the symbol PSE:PM.


                                                33
        100.    Armed with these tools, on July 12, 2013, Razon sent email correspondence to

GGAM alleging purported grievances with GGAM’s performance and threatening to cause the

Debtor Defendants to terminate the MSA (as described below, an esteemed three-member

arbitration panel later unanimously recognized that these purported grievances were baseless

contrivances of Razon to set up his bad-faith termination of the MSA). Although GGAM rightfully

denied Razon’s fabricated allegations, GGAM undertook efforts to address them; however, Razon

refused to engage in good faith to resolve his purported concerns. Rather, Razon’s plan was

already in motion, and he immediately acted as if the MSA was terminated.

        101.    Meanwhile, on July 30, 2013, Razon announced that Solaire had begun to generate

profit after only a few months of its operations.

        102.    On September 12, 2013, Razon sent GGAM a formal Notice of Termination of the

MSA, effective that night at midnight. But for Razon’s wrongful termination of the MSA, the

initial term of the MSA would have ended March 16, 2018, or March 16, 2023 if GGAM exercised

its option to extend it an additional five years.

        I.      The Arbitration

        103.    On September 12, 2013, GGAM submitted a Notice of Arbitration in accordance

with Clause 19.2 of the MSA and Article 3 of the UNCITRAL Rules.

        104.    Clause 19.2(b) of the MSA provides, among other things, that the “decision of the

arbitration panel shall be final and binding on the Parties, without right of appeal,” and that the

“Parties agree in advance that if one Party initiates arbitration, the other Party shall be bound to

participate, and the decision of the arbitration panel shall be binding upon both Parties and

enforceable in all jurisdictions.”

        105.    In the arbitration, GGAM requested the arbitral tribunal find that the Debtor

Defendants materially breached the MSA through the purported termination, and award GGAM


                                                    34
damages for those breaches, including interest and costs. Conscious of Razon’s attempt to capture

the value of the Option Shares for himself, GGAM also requested the arbitral tribunal determine

that the Debtor Defendants and their affiliates have no valid claim for rescission or restitution of

the Option Shares rightfully purchased by GGAM under the EOA, that GGAM did not breach the

MSA, and that the Debtor Defendants and their officers and agents (including Razon) should be

enjoined from further interfering with GGAM’s rights with respect to the Option Shares, including

the sale of those shares.

               i.      Razon Corruptly Uses His Influence to Further Damage GGAM during
                       the Arbitration

       106.    Following Razon’s wrongful termination of the MSA and GGAM’s

commencement of arbitration, GGAM made plans to sell the publicly traded Option Shares. On

the date the MSA was terminated, BRC’s shares were being traded on the public market between

PHP 11.8 and PHP 12.3 per share – significantly higher than the option price paid by GGAM.

       107.    On or about January 15, 2014, GGAM confirmed a block sale of the Option Shares

to over 50 institutional investors at a discounted block-sale price of PHP 8.05 per share, with the

sale scheduled to close on January 21, 2014.

       108.    Razon was aware of GGAM’s intended sale of the Option Shares, and understood

that if the sale were consummated, he would lose substantial leverage over GGAM in the

arbitration, and that GGAM would have captured some of the economic benefit bargained for

under the MSA and EOA.17 In addition, allowing GGAM to exercise its right to sell the Option

Shares would threaten Razon’s domination and control over BRC and the Debtor Defendants. In


17
   Razon knew, at all times, that GGAM was the legitimate owner of the Option Shares, despite
his desire to re-acquire those shares. In fact, on September 13, 2013, the day after Razon sent
notice purportedly terminating the MSA, the Wall Street Journal quoted Razon on the implications
of termination on the Option Shares: ‘“That’s theirs. They can do whatever they want’ with the
stake, Mr. Razon said. ‘For the right price I might buy it.’”


                                                35
fact, Razon later testified in a sworn Declaration—signed by him in New York—that “[t]he 921

Million Shares held by GGAM, as a block, have a unique value to me. . . . [T]he Shares represent

a significant portion of Bloomberry’s outstanding shares. If these shares were bought by an

investor that already has a significant stake in Bloomberry, that investor could begin to

impact Bloomberry’s corporate voting and undermine my control over the company.”

(Emphasis added).

       109.    Razon therefore leveraged his personal relationship and influence with the PSE,

including its then-President, Sicat. At that time, Sicat was sourcing investment opportunities for

Razon, including in the United States as discussed infra, and receiving compensation on

transactions consummated by Razon.

       110.    So, while benefitting Sicat through other investment commissions, on January 15,

2014, Razon caused BRC’s corporate secretary, Silverio “Benny” Tan, to send a vague, four-

sentence letter to the PSE requesting that it take the dramatic action of suspending trading in all

BRC shares for one week. Despite GGAM’s written objection, and the brevity of Mr. Tan’s

correspondence, the PSE, under Sicat’s control, granted the request the next day, on January 16,

2014, and GGAM was prevented from executing its anticipated block sale of the Option Shares.

       111.    This freeze on the stock sale bought Razon valuable time. The following day, on

or about January 17, 2014, the Debtor Defendants and Razon (through Prime) filed a petition with

the Philippine Regional Trial Court (“RTC”) in Manila for writs and a temporary restraining order

(“TRO”) to prevent GGAM from selling the Option Shares once trading was no longer suspended.

On January 20, 2014, the RTC granted the TRO, and on February 27, 2014, issued writs of

preliminary attachment and preliminary injunction restricting GGAM from disposing of, selling,

or transferring the Option Shares. Importantly, however, the RTC recognized that the parties’




                                                36
dispute was subject to an arbitration clause and expressly specified that the preliminary writs were

subject to revocation by the arbitral tribunal once it was constituted.

       112.    As a result of the preliminary writs issued by the RTC, Deutsche Bank (GGAM’s

share custodian) transferred the Option Shares to a restricted, non-trading account where they are

still held today. Deutsche Bank refuses to release the Option Shares to GGAM based on Razon’s

continued and wrongful opposition.

               ii.     The Arbitral Tribunal Finds Razon’s Actions to be Wrongful and
                       Awards Substantial Damages to GGAM

       113.    The three-member arbitral tribunal was formed on March 28, 2014, with

proceedings to be held in the Republic of Singapore and in Washington, D.C.18

       114.    Through a series of orders, culminating in the Final Award issued on September

27, 2019, the arbitral tribunal confirmed that the Debtor Defendants wrongfully terminated the

MSA, GGAM is the rightful owner of the Option Shares, GGAM is entitled to sell the Option

Shares, and the Debtor Defendants (who at all times acted under the direction of Razon) actively

and unlawfully impeded GGAM’s right to sell the Option Shares.

       115.    Specifically, on December 9, 2014, following a hearing held at the request of the

Debtor Defendants in Washington, D.C., the arbitral tribunal issued its Interim Measures (“IM”)

Order, in which the arbitral tribunal confirmed GGAM’s right to sell the Option Shares, and

expressly vacated and superseded the RTC’s preliminary writs. The IM Order further directed the

parties to make the arbitral tribunal’s order known to the Philippine courts and “to assure its

implementation.” By its terms, the IM Order “directly binds” the parties to comply with that Order

unless and until either party obtains a court decision setting it aside. Despite this clear order



18
  During the arbitration, the Debtor Defendants were represented by the same New York-based
law firm representing them in this Action.


                                                 37
superseding the RTC writs – which the RTC had expressly invited – Razon continues to this day

to cause his entities to stand in the way of GGAM’s sale of the Option Shares, including refusing

to authorize Deutsche Bank to return those shares to GGAM’s trading account despite clear,

repeated directives from the arbitral tribunal.

       116.    The arbitral tribunal conducted the arbitration on the merits of GGAM’s claims and

the Debtor Defendants’ counterclaims in two phases: first on the parties’ respective liability,

followed by consideration of appropriate remedies.

       117.    The arbitral tribunal conducted its merits hearing on liability in Singapore from

October 15-24, 2015. On September 20, 2016, the arbitral tribunal issued its initial award

determining the respective liability of the parties (the “Liability Award”), finding the Debtor

Defendants materially breached the MSA by terminating without cause. The arbitral tribunal also

expressly rejected the Debtor Defendants’ purported defense that GGAM had materially breached

the MSA.

       118.    After finding the Debtor Defendants were liable to GGAM, the arbitral tribunal

conducted its merits hearing on remedies in Washington, D.C., from May 28, 2018 – June 1, 2018.

On September 27, 2019, the arbitral tribunal issued the Final Award, in which it found that the

Debtor Defendants’ actions in preventing GGAM’s sale of the Option Shares “is tantamount to

their ‘de facto seizure’” of GGAM’s Option Shares. The arbitral tribunal valued the shares based

on the date of the IM Order – the date the arbitral tribunal made clear that GGAM had the right to

dispose of the Option Shares – and applied a block sale discount, ultimately resulting in a share

valuation of PHP 11.04 per share, for a total value of PHP 10,169,871,978.24 (approximately

$196,000,000 as of that date).




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        119.    The arbitral tribunal further ordered the Debtor Defendants to pay the value of the

Option Shares as damages to GGAM in exchange for GGAM’s transfer of those shares to the

Debtor Defendants or their designee. The Final Award provides that if the Debtor Defendants did

not comply within 30 days of the Final Award, GGAM was permitted to sell the Option Shares on

the open market, and the Debtor Defendants would be required to “take all steps necessary” to (i)

withdraw the preliminary writs issued in the RTC, (ii) issue a joint press release regarding

GGAM’s ownership of the Option Shares, and (iii) instruct the PSE, Deutsche Bank, and the

Philippine Depository & Trust Corporation regarding GGAM’s rightful ownership of the Option

Shares. The arbitral tribunal further and specifically directed the Debtor Defendants to direct their

agent – Razon’s personal holding company, Prime, the majority shareholder of BRC – to cooperate

in these efforts.

        120.    Finally, the arbitral tribunal also jointly awarded GGAM and its affiliate, GGAM

Netherlands B.V., the following damages under the MSA: $85.2 million for lost management fees,

$391,224 for pre-termination fees and expenses, and $14,998,052 in costs and attorneys’ fees

incurred by GGAM in the arbitration. In sum, the damages awarded by the arbitral tribunal in

favor of GGAM totaled approximately $296,562,709 as of the date of the Final Award.

        121.    Pursuant to the Final Award, the damages awarded by the arbitral tribunal in favor

of GGAM bear post-award interest at the rate of 6% per annum, compounded annually beginning

30 days after the date of the Final Award and until payment.

                iii.   The Singapore Courts Repeatedly Affirm the Arbitration Awards

        122.    After both the liability and damages phases of the arbitration, the Debtor

Defendants challenged the decisions in the courts of primary jurisdiction in Singapore.

        123.    On January 3, 2020, the High Court of Singapore rejected all of the Debtor

Defendants’ challenges to the Liability Award. See Bloomberry Resorts and Hotels Inc. v. Global


                                                 39
Gaming Philippines LLC, [2020] SGHC 01 (Singapore High Court, Jan. 3, 2020). The Debtor

Defendants appealed the Singapore High Court’s decision to the Singapore Court of Appeal, the

highest court of Singapore, and on February 16, 2021, the Singapore Court of Appeal dismissed

the Debtor Defendants’ appeal, finding “no merit in the [Debtor Defendants’] submissions.” See

Bloomberry Resorts and Hotels Inc. v. Global Gaming Philippines LLC, [2021] SGCA 9, ¶ 98

(Singapore Court of Appeal, Feb. 16, 2021).

         124.   The Debtor Defendants also sought to set aside the Final Award in the Singapore

courts, but on May 29, 2020, the High Court of Singapore dismissed the Debtor Defendants’

application. See Bloomberry Resorts and Hotels Inc. v. Global Gaming Philippines LLC, [2020]

SGHC 113 (Singapore High Court, May 29, 2020). The Debtor Defendants appealed the Singapore

High Court’s decision to the Singapore Court of Appeal, and on October 4, 2021, the Singapore

Court of Appeal dismissed the Debtor Defendants’ appeal. See Bloomberry Resorts and Hotels

Inc. v. Global Gaming Philippines LLC, [2021] SGCA 94 (Singapore Court of Appeal, Oct. 4,

2021).

                iv.    Razon Refuses to Comply with the Arbitral Tribunal’s Orders

         125.   Despite the arbitral tribunal’s IM Order vacating and superseding the RTC’s writs

of preliminary injunction and preliminary attachment against GGAM’s sale of the Option Shares,

Razon caused the Debtor Defendants and Prime to annually renew the preliminary injunction and

preliminary attachment bonds necessary to ostensibly maintain the RTC injunction. Razon has

also consistently opposed GGAM’s efforts to reverse the RTC preliminary writs—even after the

IM Order.

         126.   And even after the arbitral tribunal issued the Liability Award, adjudicating that the

Debtor Defendants – acting under Razon’s direction and control – breached the MSA by




                                                 40
terminating GGAM, Razon has caused BRC to actively thwart GGAM’s lawful rights in those

shares.

          127.   For instance, Razon caused the Debtor Defendants to make a misleading disclosure

to the PSE on November 14, 2016, after the Liability Award had issued, stating that the Debtor

Defendants had terminated the MSA due to a material breach by GGAM – without disclosing the

arbitral tribunal’s findings to the contrary. These false statements created market and public

confusion regarding GGAM’s rights to the Option Shares and further prevented GGAM from

lawfully selling those shares. When GGAM demanded the Debtor Defendants issue a press release

correcting the false statements, Razon refused.

          128.   Razon also caused the Debtor Defendants, in contravention of the arbitral tribunal’s

orders, to refuse to cooperate with GGAM’s efforts to cause Deutsche Bank to unfreeze the Option

Shares for purposes of trading. At all times, Razon has been aware of Deutsche Bank’s position

that it requires the Debtor Defendants’ express permission to unfreeze the Option Shares. GGAM

made express requests to the Debtor Defendants, including on October 10, 2016, March 17, 2017,

and April 3, 2017, for such written consent consistent with the arbitral tribunal’s orders. In each

instance, Razon caused the Debtor Defendants to refuse GGAM’s requests.

          129.   The Debtor Defendants, acting under Razon’s direction and control, admitted they

have withheld such consent, in violation of the arbitral tribunal’s orders, as leverage in settlement

negotiations with GGAM.19 Since the conclusion of the arbitration, Razon has caused the Debtor




19
  During the arbitration, Razon and Alarilla met with GGAM and Cantor representatives in San
Francisco on September 28, 2015 to discuss potential settlement. Representatives of GGAM and
the Debtor Defendants met again to discuss settlement at Cantor’s New York office on May 11,
2017.


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Defendants and Prime to refuse to comply with the arbitral tribunal’s express orders, much less

pay the significant damages awarded in favor of GGAM.

                v.      Razon Publicly Acknowledges He Will Resist Enforcement

        130.    Throughout the arbitration process, Razon made clear that he and his companies

(and his network of Razon Agents) will attempt to defend his assets in the Philippines and leverage

his influence and the local courts to prevent enforcement of the arbitral tribunal’s orders and

awards.

        131.    As early as December 2014, Razon directed certain Razon Agents to make

statements to the press that the arbitral tribunal has no jurisdiction over the Philippine courts in

relation to GGAM’s frozen Option Shares.

        132.    Beginning in September 2016, Razon (through the Bloomberry entities) falsely

represented to the PSE that the Liability Award was only enforceable in a Philippine court. Razon

and those under his control have since repeated this incorrect assertion numerous times in BRC’s

annual and quarterly reports and Philippine SEC disclosures. For instance, in BRC’s SEC

disclosure on June 1, 2020, BRC claimed that “the arbitration award is not self-executing and must

be confirmed by a domestic court for it to have the legal effect of a judgment.” This statement is

patently false, as the New York Convention gives GGAM the right to enforce the award in any of

168 countries or any combination of them.

        J.      Razon’s Alter Ego Entities

                i.      The Debtor Defendants

        133.    At all relevant times, Razon dominated and controlled the Debtor Defendants as

part of his larger enterprise of entities operated for his own personal benefit, and used those entities

as his instrumentalities and alter egos to carry out his intent of damaging GGAM and realizing for

himself the corresponding personal financial benefits of violating GGAM’s legitimate legal rights.


                                                  42
       134.    Razon intentionally structured the Debtor Defendants’ corporate ownership and

management so that he would at all times retain control over those entities and all of their material

decisions and business dealings. BRC’s PowerPoint presentation during the investor road show

included the following corporate structure reflecting Razon’s overwhelming control of the Debtor

Defendants:




                                                 43
       135.   Razon at all times retained (through his holding companies) no less than 63%

ownership of the voting shares of BRC, the parent company of the Debtor Defendants. Indeed,

BRC’s road show presentation touted Razon’s 91.2% beneficial ownership at the time:




       136.   Despite soliciting third-party capital investment from GGAM and other investors,

including through the top-up offering, Razon and his agents were focused on maintaining a

corporate structure under which Razon would have unfettered control of the Debtor Defendants.

Indeed, Occeña’s presentation during an investor conference in November 2012 emphasized

Razon’s refusal to loosen his control on the companies through his equity ownership:




       137.   To ensure his grip on the Debtor Defendants extended to operational decisions,

Razon installed a close group of trusted operatives to manage the Debtor Defendants’ day-to-day

operations, each acting at Razon’s instruction and his ultimate direction. These Razon Agents

simultaneously held management or other leadership positions with other entities within the Razon



                                               44
family enterprise, including ICTSI, Prime, and other Alter Ego Entities, as set forth below. At all

relevant times, the Razon Agents acted for Razon’s ultimate benefit and at his direction, to the

exclusion of the interests of other stakeholders, including GGAM.

       138.    Indeed, shortly after the top-up offering in May 2012, Razon “noticed” that one of

Solaire’s key corporate officers (the Chief Financial Officer) was not required to report directly to

Razon. Razon thus instructed his lieutenant, Occeña, to quickly “correct” this gap in Razon’s

operational control, as reflected in her email to GGAM’s Garry Saunders:




       139.    At all times, Razon dominated the Debtor Defendants’ material financial decisions,

including in their dealings with GGAM before and after the wrongful termination of the MSA.

Razon also exercised control, for his personal benefit, over all primary decisions relating to

GGAM, the arbitration, the Debtor Defendants’ conduct during the arbitration, and the Debtor

Defendants’ obstruction of GGAM’s legal rights with respect to the Option Shares.

       140.    Razon has also used and commingled the assets of the Debtor Defendants with the

various entities within his enterprise, including to support his other ventures in the Philippines,

and to benefit personal interests. Razon uses his agents to freely move money between and among

his entities, including the Debtor Defendants, at will, without formality, and in accordance with




                                                 45
his instruction, as reflected in Occeña’s report to Razon regarding movement of funds in December

2011, after execution of the MSA:20




       141.    Razon also commingled and used the Debtor Defendants’ assets to support his

procurement of a portfolio of valuable investments in U.S. real estate and energy deposits. For

instance, Razon frequently has used (and continues to use) at least one of BRHI’s Gulfstream jets

to transport himself and his family on personal vacation travel and other trips, including to and

from the United States, and for business purposes solely to benefit other entities in his enterprise.

Indeed, between Razon’s initial meeting with GGAM in March 2011 and his termination of the

MSA on September 12, 2013, one of BRHI’s Gulfstream jets made more than 80 flights to 15

different airports in 9 different U.S. states. More recently, on March 27, 2021, Razon used one of


20
  Plaintiff has redacted an offensive term in Occeña’s email, but the redaction does not alter the
material content of the excerpted email. On information and belief, Rosanna Go (referenced in the
email) is a personal friend of Razon and his wife, Felicia S. Razon. MORE Electric and Power
Corp. is an electricity supplier in the Philippines which is owned and controlled by Razon.


                                                 46
BRHI’s Gulfstream jets to transport himself and his family from the Philippines to Newark, New

Jersey, to spend a week at their residence at The Plaza in Manhattan. In addition, while refusing

to satisfy the significant debt owed to GGAM, on information and belief, Razon has invested

significant funds from his Philippine entities, including the Debtor Defendants, into various real

estate and other investments in the United States, as set forth below, for Razon’s personal benefit

and not for the benefit of the Debtor Defendants’ creditors, including GGAM. In effect, Razon

has disregarded the corporate separateness of the Debtor Defendants, instead treating and intending

to treat the Debtor Defendants and their assets as his own.

       142.    Razon understood and intended that in dealing with the Debtor Defendants, GGAM

would rely (as it is entitled to) on the premise that the Debtor Defendants would operate as

legitimate corporate entities, not mere instrumentalities of Razon, acting at the direction and for

the sole benefit of Razon, to the unlawful detriment of legitimate third parties such as GGAM.

       143.    Contrary to GGAM’s presumption and reasonable expectation, Razon used his

domination and control of the Debtor Defendants to significantly and proximately harm GGAM

by, among other things, intentionally causing the Debtor Defendants to unlawfully terminate the

MSA for Razon’s intended personal benefit, intentionally causing (and continuing to cause) the

Debtor Defendants and their agent, Prime, to obstruct GGAM’s efforts to exercise its lawful rights

in and to the Option Shares, and causing (and continuing to cause) the Debtor Defendants to refuse

to pay the amounts awarded to GGAM under the Final Award, while diverting funds from the

Philippines to benefit Razon and his family personally.

               ii.    The Alter Ego Entities

       144.    Razon’s use of entities in his enterprise as instrumentalities to advance his personal

financial objectives is not limited to the Debtor Defendants. As set forth above, Razon’s personal

enterprise includes entities in many jurisdictions, including the United States. On information and


                                                47
belief, Razon has used a network of intermediary shell companies and the same Razon Agents to

divert hundreds of millions of dollars from the Philippines to fund significant investments in real

estate, energy, and various other ventures in the United States, all for the purpose of creating legacy

wealth for himself, his wife, and his children.

                       1.      The Real Estate Entities

       145.    Over the years, Razon has acquired significant real estate holdings in and around

New York City using his trusted agent, Medel Payumo, Mr. Payumo’s company, Triumph

Properties Corp., and various shell entities and nominee family member owners to disguise Razon

as the true owner of the properties. These entities include the following, which are each owned

and controlled, directly or indirectly, by Razon:

               a.      Asia Arrow, which owns Razon’s residence at The Plaza on Central Park

                       South and Fifth Avenue. Asia Arrow was formed in the British Virgin

                       Islands shortly before, and for the purpose of, acquiring the residence for

                       Razon from fellow casino tycoon, Steve Wynn. Asia Arrow is wholly-

                       owned by Collingwood Cayman – Razon’s offshore Cayman Islands

                       holding company through which he also owns and has funded the Energy

                       Entities. Razon and his family frequent this residence and spend family

                       holidays (including Thanksgiving and Christmas) at the property. Various

                       permits related to the property list Razon as the actual owner, despite the

                       use of the offshore Asia Arrow as a personal holding company.

               b.      Rizolina, which owns a second penthouse property at 211 East 13th Street,

                       Penthouse 1G in Manhattan.         Consistent with Razon’s use of trusted

                       operatives, and at Razon’s instruction, Mr. Payumo serves as the registered

                       agent for Rizolina in New York. And consistent with Razon’s attempt to


                                                  48
     build a legacy of U.S. assets for himself and his immediate family, Razon

     selected his spouse, Felicia S. Razon, as the sole named member of

     Rizolina. On information and belief, the name of this entity is derived from

     Razon’s family member’s names, including his name (Enrique aka

     “Ricky”), his son’s nickname (“Enzo”), his spouse’s name (Felicia aka

     “Lizzy”), and his daughter’s name (Katrina).

c.   Ensara, which owns an apartment at 211 East 13th Street, #6A in Manhattan

     (the same building as the property owned by Rizolina).         At Razon’s

     instruction, Mr. Payumo serves as the registered agent for Ensara in New

     York. And consistent with Razon’s attempt to build a legacy of U.S. assets

     for himself and his immediate family, Razon selected his spouse, Felicia S.

     Razon, as the sole named member of Ensara. On information and belief,

     the name of this entity (Ensara) is derived from the first two letters of

     Razon’s son’s name, Enrique Santos Razon.

d.   Nozar, which owns an apartment at 100 Barclay Street, #28D in Manhattan.

     At Razon’s instruction, Mr. Payumo serves as the registered agent for Nozar

     in New York. And consistent with Razon’s attempt to build a legacy of

     U.S. assets for himself and his immediate family, Razon selected his spouse,

     Felicia S. Razon, as the sole named member of Nozar. On information and

     belief, the name of this entity (Nozar) is derived from spelling Razon in

     reverse.

e.   Bowery, which owns a penthouse apartment at 21-30 44th Drive, Penthouse

     B in Long Island City, New York. At Razon’s instruction, Mr. Payumo




                              49
     serves as the registered agent for Bowery in New York. And consistent

     with Razon’s attempt to build a legacy of U.S. assets for himself and his

     immediate family, Razon selected his spouse, Felicia S. Razon, as the sole

     named member of Bowery.

f.   Campanilla, which owns a separate penthouse apartment in the same

     building as Bowery, at 21-30 44th Drive, Penthouse J in Long Island City,

     New York. At Razon’s instruction, Mr. Payumo serves as the registered

     agent for Campanilla in New York. And consistent with Razon’s attempt

     to build a legacy of U.S. assets for himself and his immediate family, Razon

     selected his spouse, Felicia S. Razon, as the sole named member of

     Campanilla.

g.   Fesara, which owns an apartment building at 44 Carmine Street in

     Manhattan. At Razon’s instruction, Mr. Payumo serves as the registered

     agent for Fesara in New York. And consistent with Razon’s attempt to build

     a legacy of U.S. assets for himself and his immediate family, Razon selected

     his spouse, Felicia S. Razon, his daughter, Katrina S. Razon, and his son,

     Enrique S. Razon, IV, as the sole named members of Fesara.              On

     information and belief, Fesara is derived from the first two letters of

     Razon’s wife’s name, Felicia Santos Razon.

h.   Essex, which owns an apartment building at 11 Essex Street in Manhattan.

     At Razon’s instruction, Mr. Payumo serves as the registered agent for Essex

     in New York. And consistent with Razon’s attempt to build a legacy of

     U.S. assets for himself and his immediate family, Razon selected his spouse,




                              50
                       Felicia S. Razon, his daughter, Katrina S. Razon, and his son, Enrique S.

                       Razon, IV, as the sole named members of Essex.

        146.   On information and belief, each of the Real Estate Entities is a personal holding

company ultimately and beneficially owned and controlled by Razon to serve no purpose other

than to hold public title to the above-identified real property located in the State of New York.

Razon uses these shell entities and selects nominal owners for the purpose of concealing his

ownership of such assets from his creditors, including GGAM, and dominates and controls the

operational, financial, and other decisions of each entity, including all decisions regarding the

acquisition and disposition of their respective properties.

        147.   On information and belief, Razon appointed trusted agents, including Mr. Payumo,

to serve as the public-facing agents of these entities to further conceal his ultimate ownership and

control of the Real Estate Entities. On information and belief, each of the Real Estate Entities is

and has been capitalized on an as-needed basis by Razon using funds from his personal accounts,

family trusts, or from other entities within his personal enterprise, including other Alter Ego

Entities.

        148.   On information and belief, Razon used and commingled resources from the

Philippine entities in his enterprise, including the Debtor Defendants, to support the acquisition,

operation, and oversight of assets held by the Real Estate Entities, including without limitation,

utilizing personnel and property of the Debtor Defendants to oversee acquisition and maintenance

of the portfolio of real property assets owned by the Real Estate Entities, and using the Debtor

Defendants’ assets (including BRHI’s Gulfstream jet) to visit the properties, attend meetings

regarding the properties, and transport Razon’s family for purposes of residing at certain of the

properties, including the residence owned by Asia Arrow.




                                                 51
                       2.        The Energy Companies

       149.    In addition to building his legacy through New York real estate asset holdings,

Razon has used a network of U.S. shell companies to invest in and acquire ownership of valuable

mineral rights and oil and gas assets from Texas to the Appalachians, determined to exploit profit

opportunities in the United States.

       150.    During the same time period in which Razon caused approximately $300 million

in damages to GGAM by breaching the MSA and effectively seizing GGAM’s Option Shares,

Razon diverted more than $250 million of funds from his Philippine operations into U.S. energy

holdings for his sole benefit.

       151.    As set forth below, on information and belief, Razon repeatedly and consistently

used and leveraged the Debtor Defendants’ funds and resources, including the same Razon Agents

who serve in management and other leadership capacities for the Debtor Defendants, to construct

a complex new arm of his enterprise and to acquire these U.S. assets for his personal benefit. And,

as with the other entities in his enterprise, Razon at all times maintained and exercised his

domination and control over all material aspects of the operations of the Energy Entities, including

through the use of nominee directors and agents otherwise employed by the Debtor Defendants.

                                 a.   Razon’s Business Relationship with Hans Sicat, Then-
                                      President of the PSE

       152.    At the time Razon called on Sicat (then-President of the PSE) to block all trading

of shares of BRC in January 2014, Razon had an undisclosed business arrangement with Sicat.

Unbeknownst to the general public, Sicat was being compensated to bring investment

opportunities to Razon.




                                                52
         153.   In or around late 2013, Sicat introduced Razon to Demetri Argyropoulos

(“Argyropoulos”),21 one of Sicat’s U.S.-based contacts who was known for pairing wealthy

investors with unique investment opportunities. Sicat and Argyropoulos had known each other for

years, and over time, developed a business relationship whereby Argyropoulos would source

opportunities for Sicat’s network of professional relationships in the Philippines and elsewhere in

Asia. Sicat thus introduced Argyropoulos to the wealthy Razon as a potential investor for

investments in the United States and elsewhere.

         154.   Sicat had a financial interest in Argyropoulos successfully sourcing opportunities

for Razon.      On information and belief, Argyropoulos would pay Sicat a portion of his

compensation if and when Razon consummated a transaction.

         155.   On information and belief, Razon knew about the financial arrangement between

Argyropoulos and Sicat, and Razon would pursue and consummate transactions brought to him

through Sicat for the purpose of keeping a good relationship with Sicat. For instance, although

Razon had no particular interest in the technology sector, he pursued and made an investment in a

technology company presented to him by Sicat and Argyropoulos to maintain his relationship with

Sicat.

         156.   Maintaining a close business relationship with Sicat proved valuable to Razon.

During the period that Razon was pursuing investments presented by Sicat and Argyropoulos,

Sicat (as President of the PSE) granted Razon’s unsupported request to halt all trading of BRC’s

stock for an entire week to prevent GGAM from liquidating the Option Shares.22



21
   Argyropoulos is a dual citizen of the United States and Greece, the founder and CEO of the
global advisory firm, Avant Global (formerly known as Prima Worldwide), and based in Santa
Barbara, California.
22
   On January 21, 2014 – six days after Sicat and the PSE blocked GGAM’s sale of the Option
Shares at Razon’s request – Forbes Magazine published a profile piece on Argyropoulos entitled


                                                53
       157.      Razon ultimately informed Sicat and Argyropoulos that he was interested in

pursuing opportunities in the U.S. energy market, and Argyropoulos introduced Razon to an

investment banker in New York, Ahmad Atwan (“Atwan”). On information and belief, Sicat

facilitated the initial meeting between Razon, Atwan, and Argyropoulos. After the initial meeting,

Sicat (including using his personnel at the PSE) facilitated additional conference calls and

correspondence between Atwan, Argyropoulos, and the Debtor Defendants’ personnel (including

Occeña and Silverio “Benny” Tan) to discuss and pursue diligence on specific opportunities.

       158.      Ultimately, Razon began working with Atwan and Argyropoulos no later than early

2014 to source large investment opportunities in the U.S. mineral and oil and gas sectors. 23

                               b.     Razon Pursues and Acquires Energy Assets in the
                                      United States Using Shell Holding Companies

       159.      After being introduced to Atwan, Razon came to the United States on numerous

occasions between 2014 and 2017, including using BRHI’s and ICTSI’s company Gulfstream jets

to travel to meet with Atwan and others in New York City (including at the Manhattan residence

owned by Razon through Asia Arrow) and elsewhere, and to explore potential investment

opportunities sourced by Atwan in Kentucky, West Virginia, Texas, and other jurisdictions in the

United States.

       160.      On information and belief, Razon’s intention was, as reflected in the corporate

structure he and the Razon Agents would later devise, to build a legacy for his family in the United



Are you a Billionaire Looking to Make a Deal? This is The Guy You Call. In the article, Sicat
said of Argyropoulos: “Demetri is just likeable—and incredibly at ease talking to people. . . . He’s
one of the best networkers I’ve ever met.”
23
   Razon’s relationship with Atwan apparently later soured. Razon, through CUSA and CBUSA,
has sued Atwan in Texas State Court, where the case remains pending (the “Collingwood
Litigation”). Many of the facts herein concerning Razon’s dealings with Atwan are detailed in the
parties’ pleadings and motions there, including Razon’s evidence and admissions in that case, and
in a related Federal action.


                                                54
States, and that all funds invested in the U.S. energy interests from his Philippine entities would

ultimately benefit Razon and his family personally, not GGAM or other creditors or stakeholders

of the Debtor Defendants.

       161.    On or about March 31, 2014, Razon personally engaged Source Rock Minerals,

LLC (“SRM”), a Colorado limited liability company, to serve as the entity that would be

compensated by Razon if and when a transaction identified by Atwan and/or Argyropoulos was

consummated. Specifically, on or about March 31, 2014, Razon and SRM entered into an

engagement agreement (the “SRM Agreement”), under which Razon personally engaged SRM to

“render services relating to certain energy mineral interest acquisitions in the United States.” On

information and belief, Razon agreed in the SRM Agreement to personally compensate SRM for

services rendered, and agreed that any dispute would be governed by New York law and arbitrated

in New York, New York, under the American Arbitration Association’s then-applicable rules. All

notices to Razon under the SRM Agreement were to be delivered to him at his ICTSI office

address.

       162.    On information and belief, even before SRM was formally engaged,24 SRM

identified an opportunity for Razon to purchase an equity interest in Mesa Appalachian LLC




24
  In the January 21, 2014 profile piece on Argyropoulos entitled Are you a Billionaire Looking to
Make a Deal? This is The Guy You Call, Argyropoulos was quoted as stating that “[r]ight now,
we’re in the process of selling a $100 million-plus oil shale gas land to one of the billionaires we
work with, from pretty much the most reputable individual name in the oil industry. …We
provided the trusted relationship that took us years to build, and we gave them $100 to $200 million
of business at the end of the day. And that was just a phone call. So you can understand how it
kind of cascades into a much bigger business.”


                                                55
(“Mesa Appalachian”), an entity formed, owned, and controlled by T. Boone Pickens (“Pickens”),

which owned high-value sub-surface mineral rights in the extensive Appalachian Basin.25

       163.      Throughout 2014, Razon directed the Debtor Defendants’ personnel—including

Occeña (the Debtor Defendants’ Corporate Treasurer and BRC’s Chief Financial Officer and

Treasurer), Gerard Festin (BRC’s Vice President for Controllership), and Silverio “Benny” Tan

(BRC Corporate Secretary)—to work with Atwan, Argyropoulos, and Sicat to negotiate the terms

of his potential investment in Mesa Appalachian. The Debtor Defendants’ personnel participated

in numerous conference calls with BP Capital Management, LP (Pickens’s company) and its

advisors in the United States, from the Solaire premises in the Philippines, at times with Sicat’s

participation.

       164.      At all relevant times, the Razon Agents utilized the Debtor Defendants’ resources

to pursue Razon’s personal investment opportunity, including using their Solaire (and in some

cases ICTSI) technology platforms to participate in the diligence and negotiations, and used the

Solaire offices and corporate infrastructure (conference call system, printers, etc.) to advance

Razon’s interest. For his part, Razon came to the United States frequently (using aircraft of the

Debtor Defendants), meeting with Pickens, BP Capital Management, LP, and their respective

advisors (including Atwan) in Dallas, New York, and elsewhere to discuss the terms of the

proposed investment.

       165.      On information and belief, in October 2014, during the pendency of the arbitration

between GGAM and the Debtor Defendants, Razon caused the Razon Agents to transfer

approximately $50 million of funds to acquire a minority equity share in Mesa Appalachian from



25
  The Appalachian Basin is a vast deposit of oil, gas and minerals covering the majority of New
York, Pennsylvania, Ohio, and West Virginia, as well as portions of New Jersey, Maryland,
Virginia, Kentucky, North Carolina, South Carolina, Tennessee, Georgia, and Alabama.


                                                 56
Pickens. At Razon’s direction, CUSA was formed concurrently with the transaction and used as

Razon’s personal holding company to acquire his interests, despite the fact that CUSA had no bank

accounts or other operations. CUSA did not pay the purchase price for that investment; instead,

on information and belief, the purchase price was paid through the account of Collingwood

Cayman – Razon’s Cayman Islands funding company – held at HSBC Hong Kong.                    On

information and belief, SRM’s compensation for bringing the investment to Razon was paid by

Razon through Collingwood Cayman, and Argyropoulos split his portion of SRM’s compensation

with Sicat.

       166.    By the time this initial transaction closed, Razon apparently had grown tired of

Argyropoulos and asked to work solely with Atwan going forward. Thus, in or around September

2015, Razon and Atwan entered into a new agreement, superseding the SRM Agreement, under

which Atwan (through his wholly-owned entity, Source Rock Energy, LLC), would continue to

source energy investment opportunities in the United States for Razon. Ultimately, under this new

agreement, as Razon alleges in the Collingwood Litigation, Razon invested at least an additional

$200 million in the United States through a series of shell holding companies.

       167.    First, in 2015, Razon used approximately $10 million of funds to acquire leasehold

interests on substantial net mineral acreage in Texas’s Angelina and Nacogdoches counties. Razon

again instructed the Razon Agents to use CUSA as his personal holding company to acquire these

interests, despite the fact that CUSA had no bank accounts or other operations. Again, CUSA did

not pay the purchase price. On information and belief, Razon paid the purchase price and all

commissions through the account of Collingwood Cayman – Razon’s Cayman Islands funding

company – held at HSBC Hong Kong.




                                               57
       168.    Next, in early 2016, Razon sought to acquire from Pickens a direct interest in

premium net mineral acreage owned by Pickens through Mesa Appalachian. After Atwan sourced

the opportunity, the Razon Agents negotiated with BP Capital Management, LP, on Razon’s

behalf. Razon ultimately used approximately $20 million of funds to purchase the acreage rights

in the so-called “DZ1” area of Mesa Appalachian’s territory. Razon again instructed the Razon

Agents to use CUSA as his personal holding company to acquire such rights, despite the fact that

CUSA had no bank accounts or other operations, and the purchase price was not paid by CUSA.

On information and belief, Razon paid the purchase price and all commissions through the account

of Collingwood Cayman – Razon’s Cayman Islands funding company – held at HSBC Hong Kong.

       169.    Then, in April 2016, as admitted by Razon in the Collingwood Litigation, Razon

used more than $25 million of funds to acquire oil and gas assets in Waller County, Texas (the so-

called “Salt Dome Project”). Razon’s long-time agents from Solaire negotiated the transaction on

Razon’s behalf, and used CBUSA to acquire such rights, despite that CBUSA had no bank

accounts or other operations, and the purchase price was not paid by CBUSA. On information and

belief, Razon paid the purchase price and all commissions through the account of Collingwood

Cayman – Razon’s Cayman Islands funding company – held at HSBC Hong Kong.

       170.    In August of 2016, Razon used more than $30 million of funds to acquire oil and

gas assets in Kentucky and West Virginia (the so-called “Kentucky Project”). Razon traveled to

the United States for a meeting with Atwan and Hay Mineral Resources, LLC (“HMR”) in

Kentucky, and to negotiate a participation agreement (the “HMR Participation Agreement”) under

which HMR would acquire mineral rights on Razon’s behalf, through CUSA. After the HMR

Participation Agreement was executed, Razon traveled to the United States to meet with Monte

Hay, HMR’s principal, in Huntington, West Virginia, where Razon confirmed to Mr. Hay that he




                                               58
owned and controlled CUSA, and that all acquisition decisions come directly from him or the

Razon Agents in the Philippines. The HMR Participation Agreement, which Razon signed,

specified that all notices for CUSA should be sent to Occeña at her ICTSI address in Manila.

Razon’s long-time agents from Solaire negotiated the transaction on Razon’s behalf, and Razon

instructed these Razon Agents to use CUSA to acquire such rights, despite that the purchase price

was not paid by CUSA. On information and belief, Razon paid the purchase price and all

commissions through the account of Collingwood Cayman – Razon’s Cayman Islands funding

company – held at HSBC Hong Kong.

       171.    Finally, on information and belief, in late 2016, Razon became concerned that

Pickens, then 88 years old, would pass, leaving Razon as a minority interest holder in Mesa

Appalachian without a known operating partner. On or about October 24, 2016, Razon and Atwan

met and golfed with Pickens at Augusta National Golf Club in Augusta, Georgia, and discussed

with Pickens the possibility of Razon purchasing the remaining equity ownership of Mesa

Appalachian. Shortly thereafter, the Razon Agents from Solaire negotiated the terms of the

transaction, which included buying out the ownership interests of another minority owner. On

information and belief, due to the size of the transaction (approximately $100 million), the need to

convert sufficient Philippine pesos to U.S. dollars, and Razon’s liquidity constraints, Razon and

Occeña planned to use funds he received from Solaire to purchase the U.S. dollars needed to

complete the transaction.




                                                59
       172.    Notably, Occeña had previously informed Atwan that he should be looking for

investment opportunities for Razon under $50 million – not the $100-million range – due to the

recent adverse impact of the stock market on his portfolio:




       173.    But during a meeting between Occeña and Atwan in Houston in late 2016, Occeña

confirmed that Razon was able to move forward with the transaction because Razon anticipated

obtaining a large amount of funds from his Solaire operation by the end of 2016, which he intended

to use for investments in U.S. energy assets.       Ultimately, in February 2017, Razon used

approximately $94.155 million from his Philippine entities, including, on information and belief,

the Debtor Defendants, to purchase the remaining interests in Mesa Appalachian from Pickens and

the other minority owner. As he did previously, on information and belief, Razon instructed the

Razon Agents to use CUSA as his personal holding company to acquire the ownership interests.

Again, CUSA did not pay the purchase price. On information and belief, Razon paid the purchase

price and all commissions through the account of Collingwood Cayman – Razon’s Cayman Islands

funding company – held at HSBC Hong Kong.

       174.    Concurrent with acquiring these remaining ownership interests, Razon instructed

the Razon Agents to change the name of Mesa Appalachian to “Collingwood Appalachian



                                               60
Minerals, LLC.” That entity, under the domination and control of Razon and the Razon Agents,

continues to own the minerals rights described above.

                              c.      Razon and His Operatives Structure the Energy
                                      Entities to Conceal Razon’s Ownership and Protect
                                      Value for Razon’s Personal Benefit

       175.    Through the transactions detailed above between 2014 and 2017, on information

and belief, Razon diverted significant resources from his Philippine entities, including the Debtor

Defendants, to acquire U.S. energy assets. In doing so, Razon sought to create a pool of legacy

wealth in the United States for his and his family’s personal benefit. However, in each case, the

entities Razon used to effectuate these transactions were mere instrumentalities – personal holding

companies owned and controlled by Razon through a series of offshore shell companies.

       176.    Indeed, by early 2018, after Razon had diverted more than $250 million from his

Philippine operations, including on information and belief the Debtor Defendants, to invest

through the Energy Entities, Razon himself acknowledged that these assets were his personal

assets. In a January 28, 2018 email, wherein Razon introduced Atwan to a potential source of

further oil and gas deals, Razon described his personal ownership interests in the U.S. energy

sector, including the Marcellus Shale (held by CUSA):




       177.    Razon sought to construct this new arm of his enterprise in a manner, similar to his

Philippine entities, whereby Razon would at all times maintain complete control over each of the




                                                61
entities through his ultimate decision-making authority and his use of trusted operatives in public-

facing roles. Thus, Razon and the Razon Agents formed two shell entities in the United States,

CUSA and CBUSA, to serve as the primary investment vehicles. These entities were, at all

relevant times after December 2016,26 wholly-owned subsidiaries of Collingwood Holdings, the

primary U.S. holding company. At all times, Collingwood Cayman, Razon’s offshore funding

vehicle, served as the parent company of Collingwood Holdings (and Asia Arrow) and paid the

purchase prices for investments held in the names of CUSA and CBUSA. On information and

belief, Collingwood Cayman’s only operation was the funding and management of Razon’s assets,

including those held by Asia Arrow, Collingwood Holdings, CUSA, and CBUSA. On information

and belief, at all relevant times, all of Collingwood Cayman’s operations were overseen by Occeña,

from her offices at Solaire in the Philippines, at Razon’s direction. Finally, Razon and the Razon

Agents established a private trust, the Collingwood Trust, to hold sole ownership of Collingwood

Cayman, for the sole benefit of Razon and his immediate family.




26
  On information and belief, prior to Collingwood Holdings’ formation in December 2016, CUSA
and CBUSA were wholly-owned subsidiaries of Collingwood Cayman.


                                                62
       178.    On information and belief, the following organizational chart reflects the holding

company structure Razon and the Razon Agents devised for Razon’s and his immediate family’s

direct benefit and used following the transactions detailed above:




                                                63
       179.   Indeed, Razon and the Razon Agents created and submitted a nearly identical

organization chart to Citibank for purposes of opening bank accounts in the United States for the

Collingwood Appalachian Minerals, LLC entities:




       180.   As he has with the Debtor Defendants and his other Philippine entities, Razon

enlisted the Razon Agents to serve in nominee leadership positions at the Energy Entities, but at

all times Razon retained domination and control over the policies, practices, and investment




                                               64
decisions of those entities. For instance, Razon assumed and at all times served in the position of

President at CUSA and CBUSA. However, Razon also enlisted Alarilla – a Director at BRC – to

serve as a nominee director of those same entities along with Razon.27 On information and belief,

Alarilla served only at the request of Razon, and to carry out Razon’s instructions, as necessary,

in his capacity as a named Director of CUSA or CBUSA.

       181.    In addition, Razon used employees, resources, and common agents from the Debtor

Defendants and his other Philippine entities to carry out the business of the Energy Entities and

implement his instructions in the United States, as reflected in documents filed in the Collingwood

Litigation. Occeña served as Razon’s primary agent in the United States, and at all times

understood and represented that the Energy Entities and their assets were Razon’s personal assets.

Indeed, in his July 29, 2016 email to Occeña, Atwan confirmed the goal to make as much money

for Razon as possible in the United States energy market:




       182.    From the offices at Solaire, Occeña directed Atwan’s efforts on behalf of Razon,

including, without limitation, relaying Razon’s decisions on particular investment opportunities,



27
  Razon also appointed Alarilla to serve as a nominee director of each of the wholly-owned
subsidiaries of CUSA: Collingwood Appalachian Minerals, LLC, Collingwood Appalachian
Minerals I, LLC, Collingwood Appalachian Minerals II, LLC, and Collingwood Appalachian
Minerals III, LLC.


                                                65
overseeing diligence requested by Razon, setting up bank accounts for Razon and the Energy

Entities at Citibank in the United States, and facilitating the use of Philippine pesos (including, on

information and belief, from the Debtor Defendants) to purchase U.S. dollars and transfer monies

from the Philippines to fund the operations and acquisitions by the Energy Entities for Razon’s

personal benefit.

       183.    In addition, as reflected in filings in the Collingwood Litigation, other employees

of the Debtor Defendants were directly involved with managing and overseeing the Energy

Entities, including Arnold Rivas (BRC’s Vice President for Administration), Gerard “Bing” Festin

(BRC’s Vice President for Controllership), and Fritz Lacap (BRC’s Vice President for Business

Development and Corporate Planning). In fact, when bank accounts were finally opened for

CUSA and CBUSA in the United States in late 2016, the signatories on the account were Razon

and four other personnel of the Debtor Defendants: Occeña, Alarilla, Gerard “Bing” Festin, and

Arnold Rivas. At certain times, BRC’s Corporate Secretary, Silverio “Benny” Tan, was identified

as the person to whom CUSA-related notices should be sent, including in the HMR Participation

Agreement filed in the Collingwood Litigation. Each of these individuals used Solaire and BRC

email accounts to carry out the business of the Energy Entities, and, on information and belief,

conducted that business from their offices at Solaire, using the Debtor Defendants’ resources. On

information and belief, Occeña, Razon, and other Razon Agents from Solaire met with Atwan in

New York, including at Razon’s residence at The Plaza in Manhattan, to discuss Energy Entity

business when they were attending casino investor conferences.

       184.    The alter ego nature of the Energy Entities is further illustrated by the nature of the

Energy Entities’ U.S. operations, or lack thereof. On information and belief, when Razon

consummated the transactions identified herein, neither Collingwood Holdings, CUSA, nor




                                                 66
CBUSA had a physical location in Texas or elsewhere in the United States. While those entities

later identified offices in Texas, the operations of those entities were instead directed and overseen

by Razon’s agents, including primarily personnel of the Debtor Defendants, from the Philippines,

or by Razon himself, including from his residence at The Plaza in New York. It was only after

Razon completed the acquisitions that he hired Robert Hadlow, an accountant in Texas, to act as

a face of the Energy Entities in the United States. However, on information and belief, Mr. Hadlow

lacked any meaningful authority over the Energy Entities, and all Energy Entity-related decisions

were and are made by Razon and communicated through the Occeña’s and other Razon Agents’

instructions from the Philippines.

       185.    In fact, during a separate “Know Your Customer” verification process undertaken

by J.P. Morgan in relation to Razon’s purchase of the remaining equity ownership of Mesa

Appalachian, it came to light that CUSA did not have an address in the United States, which was

required by the bank:




                                                 67
       186.    To circumvent the physical address requirement, Razon personally signed an IRS

Form W-9 for CUSA listing CUSA’s address as 242 East 38th Street, Suite 6A, New York, New

York – the address of Razon’s agent, Medel Payumo – to be delivered to J.P. Morgan.

       187.    When the Energy Entities had no physical presence in the United States, Razon’s

residence at The Plaza in Manhattan served as the home base of the U.S. operations. Razon

regularly conducted the Energy Entities’ business in New York, including by signing numerous

documents and deeds at The Plaza, and booking conference rooms and holding meetings at The

Plaza and elsewhere in New York for business dealings. Razon also used his address at The Plaza

to receive mail relating to the Energy Entities.




                                                   68
       188.    The following chain-of-command chart created by the Debtor Defendants in

January 2018 shows that at all times – even after the Energy Entities hired Robert Hadlow in Texas

– Razon had ultimate control over the Energy Entities and was aided by two of his Razon Agents

from Solaire in the Philippines, Occeña and Gerard “Bing” Festin:




       189.    In addition, neither CUSA nor CBUSA had bank accounts in the United States until

late 2016, when Occeña urgently sought to set up bank accounts with Citibank in the United States

for purposes of paying bills and receiving income being generated by the Energy Entities. A

June 21, 2016 email from Razon Agent Gerard “Bing” Festin described the situation, including



                                               69
Razon’s use of his offshore Collingwood Cayman entity to fund disbursements for other

Collingwood entities:




       190.    As noted above, the signatories on these new Citibank accounts opened for CUSA

and CBUSA would be Razon and four personnel of the Debtor Defendants: Occeña, Alarilla,

Gerard “Bing” Festin, and Arnold Rivas.

       191.    In relation to each of the transactions, Razon personally traveled to the United

States to meet with Atwan and the potential sellers and partners, and to otherwise do due diligence

on the investment opportunities.

       192.    Finally, after an apparent falling out with Atwan, Razon sought to avail himself of

the U.S. courts to seek redress. Prior to initiating suit, and consistent with Razon’s desire to operate

discreetly in the United States, Razon transferred his purported claims against Atwan to CUSA

and CBUSA – further reflecting his use of such entities as his personal holding companies and his



                                                  70
view that he could freely transfer assets into and out of such entities at his convenience.28 Shortly

thereafter, in September 2019, CUSA and CBUSA commenced suit against Atwan based on

damages purportedly suffered by Razon as a result of Atwan’s services. That case remains pending

in the 116th District Court in Dallas County, Texas.29

        193.    In sum, despite the complex onshore/offshore structure of the Energy Entities and

their affiliates, the Energy Entities were at all times simply vehicles through which Razon could

discreetly divert funds from his Philippine operations to the United States, with the intention of

building a legacy only for himself and his family, to the exclusion of the creditors and other

stakeholders of the Debtor Defendants and other members of his enterprise. The Energy Entities

were at all times operated and managed for Razon’s benefit, and under his domination and control,

including through his use of loyal operatives and personnel of the Debtor Defendants and other

entities in his enterprise, acting at Razon’s direction and for his personal benefit.

VI.     CAUSES OF ACTION

                                             COUNT I
               (Enforcement of the Arbitration Awards – Against All Defendants)

        194.    Plaintiff repeats and realleges the allegations set forth in Paragraphs 1-193 above

as if fully set forth herein.

        195.    The United States is a signatory to the Convention on the Recognition and

Enforcement of Foreign Arbitral Awards of June 10, 1958 (the “New York Convention”), codified

at Chapter 2 of the Federal Arbitration Act (“FAA”), 9 U.S.C. §§ 201 et seq.




28
   Razon’s pre-suit assignment to CUSA and CBUSA is reflected in filings in the Collingwood
Litigation.
29
   On April 28, 2021, Pathhead Capital, Inc., a defendant in the Collingwood Litigation, filed a
motion to designate Razon personally as a responsible third party in that action.


                                                  71
       196.    The New York Convention applies to the Liability Award and the Final Award,

which were issued by a three-member arbitral tribunal seated in Singapore. Singapore is a

contracting state to the New York Convention.

       197.    A true and correct certified copy of the Final Award is attached hereto as

Appendix 1. A true and correct certified copy of the Liability Award is attached hereto as

Appendix 2. A true and correct certified copy of the IM Order is attached hereto as Appendix 3.

A true and correct certified copy of the MSA is attached hereto as Appendix 4.

       198.    The arbitration was commenced and both the Liability Award and the Final Award

were obtained pursuant to the MSA, which was a signed writing containing the following

arbitration provision agreed to by Plaintiff and the Debtor Defendants: “[A]ny dispute required to

be settled in accordance with this Clause 19.2 shall be settled by arbitration in Singapore under the

United Nations Commission on International Trade Law (UNCITRAL) Arbitration Rules in force

at the date of this Agreement . . . .” Clause 19.2(b) of the MSA provides, among other things, that

the “decision of the arbitration panel shall be final and binding on the Parties, without right of

appeal,” and that the “Parties agree in advance that if one Party initiates arbitration, the other Party

shall be bound to participate, and the decision of the arbitration panel shall be binding upon both

Parties and enforceable in all jurisdictions.”

       199.    On September 27, 2019, the Final Award was issued in favor of Plaintiff against

the Debtor Defendants in the total amount of $296,562,709.02 (calculated using the USD-PHP

exchange rate as of the date of the Final Award), plus post-award interest in the amount of 6% per

annum, compounded annually, beginning thirty (30) days after issuance of the Final Award.

       200.    The New York Convention and FAA permit enforcement of a foreign arbitral award

in the United States against an award-debtor and its property.




                                                  72
          201.    The New York Convention and FAA permit enforcement of a foreign arbitral award

against an award-debtor’s alter egos and their property.

          202.    As alleged above, the Debtor Defendants are alter egos of Razon.

          203.    Plaintiff is thus entitled to a judgment recognizing and enforcing the Liability

Award and Final Award against the Debtor Defendants and Razon. Plaintiff is therefore entitled

to recover judgment in the amount of at least $296,562,709, plus interest accrued under the Final

Award on the unpaid amount of that award through judgment, post-judgment interest until the

Final Award amount is paid in full, and such further relief as the Court should deem just and

proper.

                                              COUNT II
                                (Declaratory Relief – Against Razon)

          204.    Plaintiff repeats and realleges the allegations set forth in Paragraphs 1-203 above

as if fully set forth herein.

          205.    Plaintiff is a creditor of the Debtor Defendants pursuant to the Final Award.

Plaintiff contends that the Debtor Defendants are alter egos of Razon, and that Razon is liable for

the unpaid amount of the Final Award, including the unpaid amount of any judgment entered by

the Court on the Final Award (the “Alter Ego Debt”). In particular, Plaintiff contends that, at all

relevant times:

                  a.     Razon, in concert and with the assistance of the Razon Agents, operated the

                         Debtor Defendants as Razon’s personal entities, and part of his larger

                         personal and family enterprise;

                  b.     There was such a unity of interests between the Debtor Defendants and

                         Razon that the separate personality of the Debtor Defendants no longer

                         existed;


                                                  73
c.   Razon completely dominated, controlled, and otherwise governed the

     Debtor Defendants, including the policies and business practices of the

     Debtor Defendants, such that the Debtor Defendants had no separate mind

     with respect to the Debtor Defendants’ dealings with Plaintiff, including the

     transactions and acts alleged herein;

d.   The Debtor Defendants, under the complete domination and control of

     Razon, were actors in the wrongful and unlawful course of conduct

     constituting abuse of the corporate privilege for which alter ego liability is

     justified, including, but not limited to:

     i.      Razon caused the Debtor Defendants to enter into the MSA with

             Plaintiff, knowing and intending that Plaintiff would rely on the

             false premise that the Debtor Defendants at all times had a separate

             corporate personality and would be operated for the benefit of their

             respective stakeholders, including creditors such as Plaintiff, and not

             solely for Razon’s personal financial benefit;

     ii.     Razon caused the Debtor Defendants to unlawfully terminate the

             MSA, in material breach of the Debtor Defendants’ obligations to

             Plaintiff, for the purpose of benefitting Razon financially, and not

             for any legitimate business or operational purpose;

     iii.    Razon caused the Debtor Defendants to substantially harm Plaintiff

             by leveraging his personal and business relationship with the head

             of the PSE, Hans Sicat, to prevent Plaintiff from exercising its rights




                               74
       with respect to the Option Shares, for the sole purpose of benefitting

       Razon financially;

iv.    Razon caused the Debtor Defendants to ignore the express directives

       of the arbitral tribunal and caused continued harm to Plaintiff by

       obstructing Plaintiff’s ongoing attempts to exercise its rights with

       respect to the Option Shares;

v.     Razon further dominated and controlled the Debtor Defendants, and

       caused the Debtor Defendants to cause substantial harm to Plaintiff,

       as reflected in the Final Award, all for Razon’s personal benefit;

vi.    Razon concealed his domination and control of the Debtor

       Defendants by installing his trusted Razon Agents and other loyal

       personnel in management and other senior leadership positions for

       the purpose of falsely presenting the Debtor Defendants as

       legitimate business entities independently managed in the interests

       of the Debtor Defendants’ stakeholders, including creditors and

       collaborators, such as Plaintiff, as opposed to the personal

       instrumentalities of Razon, operated for his personal benefit;

vii.   The funds and assets of the Debtor Defendants were commingled

       with the assets of Razon and other entity members of his personal

       enterprise, including, on information and belief, with the Alter Ego

       Entities in the United States, in each instance for Razon’s personal

       benefit;




                         75
                       viii.   Razon used the resources, personnel and other assets of the Debtor

                               Defendants to form, fund, and manage the entities in his personal

                               enterprise, including, without limitation, the Alter Ego Entities in

                               the United States and their affiliated entities;

                       ix.     Legal formalities at the Debtor Defendants were disregarded, and

                               arm’s-length relationships were not maintained between Razon and

                               the Debtor Defendants.

       206.    An actual case and controversy exists, in that Razon disputes he is liable for the

Alter Ego Debt, whereas Plaintiff contends he is so liable.

       207.    Plaintiff contends that (i) an inequitable and unjust result would follow if the

corporate separateness of the Debtor Defendants were respected as against Plaintiff and the Alter

Ego Debt owed to Plaintiff, (ii) no adequate alternative remedy exists, and (iii) a declaration of the

liability of Razon, as the alter ego of the Debtor Defendants, is necessary to operate prospectively

and allow Plaintiff to recover from Razon the unpaid amount of the Alter Ego Debt.

       208.    Plaintiff desires and seeks a declaration of its right to recover the unpaid amount of

the Alter Ego Debt from Razon, as alter ego of the Debtor Defendants with respect to Plaintiff and

the Alter Ego Debt.

       209.    Plaintiff contends such a judicial declaration is necessary and appropriate at this

time and under the circumstances and to resolve the dispute between Plaintiff and Razon.

       210.    Accordingly, Plaintiff seeks a declaratory judgment finding Razon liable to

Plaintiff, as alter ego of the Debtor Defendants, for the unpaid amount of the Alter Ego Debt, along

with interest, attorneys’ fees, and costs.




                                                 76
        211.    In addition, a substantial and imminent risk exists that Razon, including through his

dominance and control of the Alter Ego Entities, will dissipate, transfer, hypothecate, or otherwise

make his assets (including his ownership of the Alter Ego Entities) and the assets of the Alter Ego

Entities unavailable to Plaintiff for enforcement of a judgment under this Count and the other

Counts alleged herein. Razon has consistently concealed his ownership of assets in the United

States and held such assets in the name of shell companies, retaining only the equity interest so as

to shield those assets from creditors and other parties-in-interest. In addition, Razon has repeatedly

and publicly cited a strategy of forcing adversaries, including Plaintiff, to pursue enforcement

action against Razon in the Philippines, where Razon can harness his social and political influence

to render enforcement ineffectual.

        212.    Thus, appointment of a receiver over Razon’s assets is necessary to preserve such

assets pending entry of judgment and in aid of Plaintiff’s rights to enforce the Alter Ego Debt

against Razon and his assets, including execution of judgment.


                                            COUNT III
                                (Injunctive Relief – Against Razon)

        213.    Plaintiff repeats and realleges the allegations set forth in Paragraphs 1-212 above

as if fully set forth herein.

        214.    Razon is liable to Plaintiff in the amount of the Alter Ego Debt, plus interest,

attorneys’ fees, and costs, as alleged herein.

        215.    At the time of this Complaint, Razon has substantial assets in the United States,

including, without limitation, his ownership interest in the Alter Ego Entities and their assets, and

funds held in U.S. bank accounts by Razon and/or the Alter Ego Entities. Such assets should be




                                                 77
available to Plaintiff to satisfy the Alter Ego Debt and otherwise for enforcement of the Alter Ego

Debt.

        216.    A substantial and imminent risk exists that Razon will dissipate, transfer,

hypothecate, or otherwise make such assets unavailable to Plaintiff for enforcement of a judgment

on the other Counts alleged herein. Razon has consistently concealed his ownership of assets in

the United States and held such assets in the name of shell companies, retaining only the equity

interest so as to shield those assets from creditors and other parties-in-interest. In addition, Razon

has repeatedly and publicly cited a strategy of forcing adversaries, including Plaintiff, to pursue

enforcement action against Razon in the Philippines, where Razon can harness his social and

political influence to render enforcement ineffectual.

        217.    Preliminary injunctive relief should issue to prevent Razon, and anyone acting on

his behalf or in concert with Razon (including the Razon Agents), from taking any and all actions

that would violate Plaintiff’s rights with respect to this action and tend to render any judgment

against Razon and his assets in the United States ineffectual. Specifically, Plaintiff seeks an order

and judgment:

                a.     Restraining Razon, and anyone acting on his behalf or in concert with him,

                       including, but not limited to the present and former agents, employees,

                       advisors, consultants, accountants, attorneys, and representatives of Razon,

                       and all other persons and entities acting in concert with him or them, and all

                       persons and entities in control of, in possession of, with knowledge of, or

                       overseeing any of Razon’s assets, including but not limited to his books and

                       records (collectively, the “Razon Enjoined Parties”), from transferring,

                       assigning, selling, conveying, devising, pledging, mortgaging, creating a




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     security interest in, encumbering, foreclosing, concealing, or in any manner

     dealing in or disposing of the whole or part of Razon’s ownership interests,

     both direct and indirect, in any of the Alter Ego Entities without further

     order of the Court;

b.   Restraining the Razon Enjoined Parties from transferring, assigning,

     selling, conveying, devising, pledging, mortgaging, creating a security

     interest in, encumbering, foreclosing, concealing, or in any manner dealing

     in or disposing of the whole or part of any funds or other assets of Razon

     (or which he holds an interest) in the United States, including any and all

     funds held in bank accounts or otherwise in the United States and any

     securities held in securities accounts or otherwise in the United States,

     without further order of the Court;

c.   Restraining the Razon Enjoined Parties from taking any actions that will

     impair, harm, or reduce the value of Razon’s assets, including his direct and

     indirect ownership interest in the Alter Ego Entities, without further order

     of the Court;

d.   Restraining the Razon Enjoined Parties from taking any actions that will or

     would tend to materially impair, defeat, divert, prevent, or prejudice the

     preservation of Razon’s assets, including his direct and indirect ownership

     interest in the Alter Ego Entities, without further order of the Court; and

e.   Restraining the Razon Enjoined Parties on the terms above pending entry

     of final judgment in this action.




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          218.   Concurrent with entry of final judgment on Count II above, Plaintiff seeks entry of

judgment permanently restraining the Razon Enjoined Parties on the terms set forth in the

preceding paragraph, with such relief to expire only once the Alter Ego Debt, together with interest,

attorneys’ fees, and costs, has been paid to Plaintiff in full.

          219.   Plaintiff will suffer serious, immediate, and irreparable harm if preliminary and

permanent injunctive relief is not issued on the terms set forth herein.

          220.   Absent the injunctive relief sought herein, Plaintiff will have no adequate remedy

at law.

          221.   Thus, Plaintiff respectfully requests the Court enter the orders and judgment set

forth above granting preliminary and permanent injunctive relief against Razon and the other

Razon Enjoined Parties.

                                             COUNT IV
                       (Injunctive Relief – Against the Debtor Defendants)

          222.   Plaintiff repeats and realleges the allegations set forth in Paragraphs 1-221 above

as if fully set forth herein.

          223.   The Debtor Defendants are liable to Plaintiff in the amount of any judgment entered

by the Court on the Final Award (“Judgment Debt”), as alleged herein and set forth in Count I.

          224.   The Debtor Defendants have substantial assets within the jurisdiction of the Court.

Such assets should be available to Plaintiff to satisfy the Judgment Debt and otherwise for

enforcement of the Judgment Debt.

          225.   A substantial and imminent risk exists that the Debtor Defendants, under the

direction and control of Razon and the Razon Agents, will dissipate, transfer, hypothecate, or

otherwise make such assets unavailable to Plaintiff for enforcement of a judgment on the other

Counts alleged herein. Razon has consistently concealed his ownership of assets in the United


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States through the Real Estate Entities and the Energy Entities, seeking to shield those assets

from Razon’s creditors and other parties-in-interest. In addition, Razon has repeatedly and

publicly cited a strategy of forcing adversaries, including Plaintiff, to pursue enforcement action

against Razon and his alter ego entities in the Philippines, where Razon can harness his social

and political influence to render enforcement ineffectual.

       226.    Preliminary injunctive relief should issue to prevent the Debtor Defendants, and

anyone acting in concert with the Debtor Defendants (including the Razon Agents), from taking

any and all actions that would violate Plaintiff’s rights with respect to this action and tend to render

any judgment against the Debtor Defendants and their assets in the United States ineffectual.

Specifically, Plaintiff seeks an order:

               a.      Restraining the Debtor Defendants, and anyone acting on their behalf or in

                       concert with them, including but not limited to the present and former

                       directors, officers, managers, agents, employees, advisors, consultants,

                       accountants, attorneys, and representatives of the Debtor Defendants, and

                       all other persons and entities who are acting in concert with him or them,

                       and all persons and entities in control of, in possession of, with knowledge

                       of, or overseeing any of the Debtor Defendants’ assets, including but not

                       limited to their books and records (collectively, the “Bloomberry Enjoined

                       Parties”), from facilitating or effectuating the transferring, assigning,

                       selling, conveying, devising, pledging, mortgaging, creating a security

                       interest in, encumbering, foreclosing, concealing, or in any manner dealing

                       in or disposing of the whole or part of any assets of the Debtor Defendants

                       without further order of the Court;




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                b.      Restraining the Bloomberry Enjoined Parties from transferring, assigning,

                        selling, conveying, devising, pledging, mortgaging, creating a security

                        interest in, encumbering, foreclosing, concealing, or in any manner dealing

                        in or disposing of the whole or part of any funds or other assets of the Debtor

                        Defendants in the United States, including without limitation any real

                        property, personal property, funds held in bank accounts or otherwise in the

                        United States, securities held in securities accounts or otherwise in the

                        United States, and ownership interest in any other entity, without further

                        order of the Court;

                c.      Restraining the Bloomberry Enjoined Parties from taking any actions that

                        will impair, harm or reduce the value of their respective assets, including

                        their respective direct and indirect ownership interest in any other entity,

                        without further order of the Court;

                d.      Restraining the Bloomberry Enjoined Parties from taking any actions that

                        will or would tend to materially impair, defeat, divert, prevent, or prejudice

                        the preservation of the Debtor Defendants’ respective assets, without further

                        order of the Court; and

                e.      Restraining the Bloomberry Enjoined Parties on the terms above pending

                        entry of final judgment in this action.

        227.    Concurrent with entry of final judgment on Count III above, Plaintiff seeks entry

of judgment permanently restraining the Bloomberry Enjoined Parties on the terms set forth in the

preceding paragraph, with such relief to expire only once the Judgment Debt, together with

interest, attorneys’ fees, and costs, has been paid to Plaintiff in full.




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          228.   Plaintiff will suffer serious, immediate, and irreparable harm if preliminary and

permanent injunctive relief is not issued on the terms set forth herein.

          229.   Absent the injunctive relief sought herein, Plaintiff will have no adequate remedy

at law.

          230.   Thus, Plaintiff respectfully requests that the Court enter the orders and judgment

set forth above granting preliminary and permanent injunctive relief against the Debtor Defendants

and those who would act in concert with the Debtor Defendants.

                                             COUNT V
                                (Trespass to Chattel – Against Razon)
          231.   Plaintiff repeats and realleges the allegations set forth in Paragraphs 1-230 above

as if fully set forth herein.

          232.   Plaintiff is and since December 2012 has been the lawful owner of the Option

Shares. As the lawful owner of the Option Shares, Plaintiff is and at all relevant times has been

entitled to exercise its rights and incidents to ownership with respect to the Option Shares,

including without limitation receiving dividends paid with respect to the Option Shares, and

selling, in whole or in part, the Option Shares, whether on the public market or through private

transactions.

          233.   Since December 2012, Razon has been fully aware of Plaintiff’s lawful ownership

of the Option Shares, and Plaintiff’s legal rights to possess, sell, and exercise all incidents of

ownership of the Option Shares. Plaintiff purchased the Option Shares from Razon’s personal

holding company, Prime, with Razon’s agreement in December 2012 pursuant the EOA, as

detailed above. Even after Razon’s contrived and unlawful termination of the MSA in September

2013, Razon publicly acknowledged Plaintiff’s ownership and rights to the Option Shares, going




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as far as stating publicly that Razon himself would consider purchasing the Option Shares from

Plaintiff.

        234.    However, Razon has at all times understood that the Option Shares have significant

value, and that preventing Plaintiff from realizing that value, through both receipt of dividends

paid on the Option Shares and proceeds of disposition of the Option Shares, would cause

significant damage to Plaintiff. Razon also sought to use his interference with Plaintiff’s rights to

create leverage in the dispute between Razon and Plaintiff over Razon’s unlawful termination of

the MSA. Finally, Razon has sought to prevent a sale of the Option Shares to ensure he maintains

his dominance and control over BRC and the Debtor Defendants.

        235.    Thus, beginning in early 2014, Razon commenced a pattern of repeated and

independently unlawful acts, personally and using his alter ego instrumentalities, the Debtor

Defendants and Prime, to intentionally and without authority effectively seize and exercise control

over the Option Shares, and prevent and otherwise interfere with Plaintiff exercising any of its

ownership rights attendant thereto.

        236.    As set forth above, in early January 2014, after Plaintiff commenced arbitration

over Razon’s unlawful termination of the MSA, Razon became aware that Plaintiff was planning

to sell the Option Shares through a prearranged block sale to more than 50 institutional investors.

On or about January 15, 2014, Plaintiff’s investment bank placing agents confirmed the sale, with

a final price of PHP 8.05 per share, with settlement of the transaction to occur on

January 21, 2014. Neither Razon nor any of the Razon Agents or any other third party had

previously raised any question regarding Plaintiff’s rights in and to the Option Shares, including

Plaintiff’s right to sell those shares at its discretion.




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        237.   On January 15, 2014, Razon leveraged his personal and business relationship with

Sicat, then-President of the PSE, and caused BRC’s corporate secretary, Silverio “Benny” Tan, to

send a vague, four-sentence letter to the PSE requesting that it take the dramatic action of

suspending trading in all BRC shares for one week. Razon made this request for the express

purpose of preventing Plaintiff from liquidating the Option Shares and realizing the significant

value of those assets, and for the intended purposes of creating leverage over Plaintiff in the

pending arbitration proceedings and attempting to recapture the value of the Option Shares

(previously sold to Plaintiff by Razon) for Razon’s personal benefit. When Razon made this

request, he and Sicat were engaged in an undisclosed financial relationship whereby Sicat

benefited from maintaining a good relationship with Razon, regardless of the merits of Mr. Tan’s

request to halt trading in BRC shares. Thus, Sicat had a strong financial incentive to do Razon’s

bidding.

        238.   Despite Plaintiff’s written objection and the brevity of Mr. Tan’s correspondence,

but due to Razon’s personal and business relationship with Sicat, the PSE granted the request the

next day, on January 16, 2014, and Plaintiff was prevented from finalizing the anticipated block

sale.

        239.   The following day, on or about January 17, 2014, before the arbitral tribunal was

duly constituted, Razon caused the Debtor Defendants and Prime to file a petition with the RTC

for a TRO to prevent Plaintiff from selling the Option Shares once trading was no longer

suspended. On January 20, 2014, the RTC granted the TRO and on February 27, 2014, issued

writs of preliminary attachment and preliminary injunction restricting Plaintiff from disposing of,




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selling, or transferring the Option Shares, subject to the arbitral tribunal’s revocation of those

preliminary writs once duly constituted.30

       240.    On or about December 9, 2014, the arbitral tribunal issued the IM Order, in which

the arbitral tribunal confirmed Plaintiff’s right to sell the Option Shares, and expressly vacated and

superseded the RTC’s preliminary writs (as the RTC expressly stated the arbitral tribunal had full

authority to do). The IM Order further directed the parties to make the arbitral tribunal’s IM Order

known to the Philippine courts and “to assure its implementation.” The IM Order, by its terms,

“directly binds” the parties – including Razon’s alter ego entities, the Debtor Defendants, to

comply with the IM Order unless and until either party obtains a court decision setting it aside.

       241.    Despite the express directives in the IM Order, Razon caused the alter ego entities

under his domination and control (the Debtor Defendants and Prime) to refuse compliance with

that Order, including refusing to authorize Deutsche Bank to return the Option Shares to a trading

account, and refusing to dismiss the case before the RTC filed by the Debtor Defendants and Prime.

       242.    On December 11, 2014, just two days after the tribunal issued the IM Order, Razon

made public his intention of disregarding the binding directive of the arbitral tribunal and, at

Razon’s direction, Occeña reported to the press that the “tribunal has no jurisdiction over [the]

Philippine court” and that the “ruling is not a judgment in favor of GGAM.”

       243.    On September 20, 2016, the arbitral tribunal issued the Liability Award,

determining that the Debtor Defendants had no justification for terminating the MSA or defense

to Plaintiff’s claims of material breach. Despite the arbitral tribunal’s detailed findings, on



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   As a result of the preliminary writs issued by the RTC, Deutsche Bank (the custodian of the
Option Shares) transferred the Option Shares to a restricted, non-trading account where they are
still held as of the filing of this Complaint. At all times, Deutsche Bank has refused to release the
Option Shares to Plaintiff based on Razon’s continued and wrongful acts to continue his seizure
of the Option Shares.


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September 28, 2016, Razon caused BRC to make a public disclosure to the PSE that misleadingly

stated that the Liability Award could only be enforced in a Philippine court. As the arbitral tribunal

later found in the Final Award, “[t]his disclosure created widespread confusion in the market,

perpetuating doubt as to GGAM’s ability to sell the [Option] Shares.”

       244.    Less than two weeks after the Liability Award was issued, on October 3, 2016,

Plaintiff requested Deutsche Bank restore the Option Shares to a trading account. Deutsche Bank

advised Plaintiff that, before it could act on that request, it would need BRC’s express agreement

that Plaintiff was free to sell the Option Shares.

       245.    On October 10, 2016, Plaintiff requested the Debtor Defendants provide written

consent to Deutsche Bank releasing the Option Shares. The following day, at Razon’s direction,

counsel for the Debtor Defendants responded that they objected to Deutsche Bank releasing the

Option Shares, but that “there would be no objection regarding the [Option] Shares if your clients

were not demanding excessive and unwarranted ‘compensation’ in addition to the [Option]

Shares.”   As the arbitral tribunal later found, this admission demonstrated that the Debtor

Defendants – under Razon’s direction, domination, and control – withheld their consent to

Plaintiff’s sale of the Option Shares in order to improperly leverage financial concessions from

Plaintiff, notwithstanding the arbitral tribunal’s prior binding determinations that Plaintiff has the

absolute right to sell the Option Shares.

       246.    Razon also continued to make false assertions to the public regarding the Plaintiff’s

rights in and to the Option Shares, and Razon’s wrongful termination of the MSA. For instance,

on or about November 14, 2016, after the arbitral tribunal’s issuance of the Liability Award, Razon

caused BRC to make a false public disclosure to the PSE, stating that the Debtor Defendants had

terminated the MSA because of a material breach by Plaintiff, but failing to disclose that the




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arbitral tribunal had already found that Razon’s termination of the MSA was unjustified. And on

December 31, 2016, Razon once again caused BRC to falsely state in a public filing with the PSE

that the Liability Award could be enforced only in a Philippine court.

       247.    On or about March 17, 2017, Plaintiff’s counsel again wrote to the Debtor

Defendants’ counsel in the arbitration proceedings, requesting that the Debtor Defendants

immediately assure implementation of the arbitral tribunal’s IM Order and Liability Award by

(i) withdrawing the Debtor Defendants’ January 17, 2014 petition filed with the RTC seeking the

preliminary writs, and (ii) confirming in writing to Deutsche Bank, the PSE, and the Philippine

Depository & Trust Corporation that the Debtor Defendants have no objection to Plaintiff’s sale

of the Option Shares. In response, the Debtor Defendants, at Razon’s instruction, refused to take

both actions and explained that “in this particular dispute, at every state, Bloomberry’s position

has been that, if [Plaintiff] were not demanding unreasonable ‘compensation’ in addition to the

[Option] Shares, objections to the sale of the [Option] Shares could be put aside as part of a

compromise to resolve the Parties’ dispute.” In doing so, counsel effectively confirmed that,

despite having no meritorious basis to interfere with Plaintiff’s rights to the Option Shares, Razon

was continuing to do so based on Plaintiff’s pursuit of its rights for Razon’s unlawful breach of

the MSA. Plaintiff renewed its March 17, 2017 request on April 3, 2017. On April 10, 2017, the

Debtor Defendants, at Razon’s direction, again refused the request.

       248.    On September 27, 2019, the arbitral tribunal issued its Final Award, finding that

the Debtor Defendants’ actions set forth above were tantamount to a “de facto seizure” of the

Option Shares in violation of Plaintiff’s property rights in such shares and Philippine law. As set

forth above, each of the acts and omissions of the Debtor Defendants occurred while the Debtor

Defendants constituted alter ego instrumentalities of Razon, under his domination and control, and




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each of the actions of such Debtor Defendants were taken at his ultimate direction for his own

intended benefit.

       249.    Notwithstanding the Final Award, Razon continued to take personal action and

direct his Philippine entities, including the Debtor Defendants and Prime, to maintain his de facto

seizure of the Option Shares and prevent Plaintiff from enjoying and exercising its rights and

privileges attended to its lawful ownership of that property.

       250.    Among other things, Razon caused BRC to issue multiple public statements in

filings with the PSE contesting the binding conclusions of the arbitral tribunal and misrepresenting

that the arbitral tribunal’s awards are enforceable only in the Philippine courts, including

statements in public filings on September 30, 2019, November 14, 2019, January 6, 2020, March

4, 2020, May 14, 2020, May 26, 2020, June 1, 2020, August 13, 2020, November 10, 2020, and

February 16, 2021.

       251.    In addition, Razon refused (and caused the Debtor Defendants and Prime to refuse)

to comply with the directives in the Final Award regarding the Option Shares. Specifically, the

Final Award provides that, if the Debtor Defendants did not comply with payment to Plaintiff

within 30 days of the Final Award (which they did not), Plaintiff was permitted to sell the Option

Shares on the open market, and the Debtor Defendants were required to “take all steps necessary”

to (i) withdraw the preliminary writs issued by the RTC; (ii) issue a joint press release regarding

Plaintiff’s ownership of the Option Shares; and (iii) instruct the PSE, Deutsche Bank, and

Philippine Depository & Trust Corporation regarding Plaintiff’s rightful ownership of the Option

Shares. The arbitral tribunal further and specifically directed the Debtor Defendants to instruct

their agent – Razon’s personal holding company, Prime, the majority shareholder of BRC – to

cooperate in these efforts.




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       252.    Since the Final Award, Razon refused to take (and caused the Debtor Defendants

and Prime to refuse to take) any of the steps mandated by the arbitral tribunal, despite specific

requests by Plaintiff, including on October 28, 2019, and the High Court of Singapore’s and the

Singapore Court of Appeal’s dismissals of the Debtor Defendants’ attempts to resist enforcement

of both the Liability Award and Final Award.

       253.    Finally, since issuance of the TRO and preliminary writs by the RTC in early 2014,

Razon caused his alter ego instrumentalities (the Debtor Defendants and Prime) to maintain the

pending RTC proceedings in the Philippines, notwithstanding the arbitral tribunal’s issuance of

the IM Order, Liability Award, and Final Award, and has repeatedly taken affirmative action to

maintain the fiction that the preliminary writs remain in place and valid, and that legal impediments

remain to Deutsche Bank’s release of the Option Shares. Among such actions, Razon caused the

Debtor Defendants and Prime to renew, on an annual basis since February 2015, the attachment

bond and injunction bond (the “Bonds”) that such entities were required to post to support issuance

of the preliminary writs. Razon caused the Debtor Defendants and Prime to renew those Bonds

even after issuance of the Final Award, including on or around February 27, 2021, which extended

the Bonds through February 27, 2022. As the arbitral tribunal noted in the Final Award, Deutsche

Bank, in refusing to release the Option Shares, has continued to rely on the Debtor Defendants’

repeated renewal of the Bonds as evidence that the preliminary writs remain in place and valid,

notwithstanding the arbitral tribunal’s repeated rulings to the contrary.

       254.    Razon is independently liable for the acts and omissions detailed herein, whether

acting individually or through his alter ego entities (including the Debtor Defendants and Prime).

Each such act and omission was intentional, and with full knowledge of Plaintiff’s rights in and to

the Option Shares and Plaintiff’s lawful ownership of that property.




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       255.    Each of Razon’s acts and omissions detailed above independently harmed Plaintiff

and had the intended effect of depriving Plaintiff of its right to possess, obtain dividends issued

upon, dispose of, and otherwise exercise its rights attended to the Option Shares. At all times

Razon knew that the harm from his actions would be suffered in the United States, where GGAM

is located, as well as by the joint venture partners of Plaintiff, including by Cantor in New York,

New York. Indeed, Razon knew at all times that Cantor had supplied the financial resources to

purchase the Option Shares – a fact relayed to investors – and would suffer severe economic harm

from Razon’s unlawful interference with the Option Shares.

       256.    Razon’s acts and omissions were taken without authority of Plaintiff and for an

unlawful purpose; namely, (i) as the arbitral tribunal found with respect to the Debtor Defendants’

conduct, to obtain and maintain control over the Option Shares so as to build improper leverage in

the Debtor Defendants’ unmeritorious dispute with Plaintiff regarding amounts owed to Plaintiff

under the MSA, and (ii) as Razon admitted in the arbitration, to maintain his control over BRC

and the Debtor Defendants.

       257.    At all relevant times, Plaintiff had ownership and a possessory right or interest in

the Option Shares, and Razon’s de facto seizure of the Option Shares through his conduct detailed

above was in derogation of and complete interference with and obstruction of Plaintiff’s rights.

       258.    As a result of Razon’s trespass, interference and intermeddling with the Option

Shares, including through actions taken before and after the Final Award, Plaintiff has suffered

substantial damages in an amount to be proven at trial, but in no event less than $196,000,000.

       259.    Razon’s conduct detailed herein was unlawful, willful, malicious, and in conscious,

deliberate, and wanton disregard of Plaintiff’s rights in and to the Option Shares. As a result, and




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based on the circumstances of such conduct, an award of punitive damages in favor of Plaintiff is

warranted and appropriate.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests the Court enter Judgment as follows:

ON COUNT I:

       A.       For recognition and enforcement of the Liability Award and Final Award and

judgment for Plaintiff against all Defendants in the amount of at least $296,562,709.02, plus

interest accrued under the Final Award on the unpaid amount of the award from the date of

issuance of the Final Award through the entry of judgment, post-judgment interest until the Final

Award amount is paid in full, attorneys’ fees, and costs.

ON COUNT II:

       B.       For a declaration that Razon is liable to Plaintiff, as the alter ego of the Debtor

Defendants, for the unpaid amount of the Alter Ego Debt, plus interest, attorneys’ fees, and costs.

       C.       For appointment of a receiver over Razon’s assets in the United States, including

without limitation his ownership interests in and rights with respect to each of the Alter Ego

Entities, to preserve such assets pending entry of judgment and in aid of Plaintiff’s rights to enforce

the Alter Ego Debt against Razon and such assets, including execution of judgment.

ON COUNT III:

       D.       For preliminary and permanent injunctive relief preventing Razon and the other

Razon Enjoined Parties from taking any and all actions that would violate Plaintiff’s rights with

respect to this action and tend to render any judgment against Razon and his assets in the United

States ineffectual, including without limitation:

              i.       Restraining the Razon Enjoined Parties from transferring, assigning,

                       selling, conveying, devising, pledging, mortgaging, creating a security


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       interest in, encumbering, foreclosing, concealing, or in any manner dealing

       in or disposing of the whole or part of Razon’s ownership interests, both

       direct and indirect, in any of the Alter Ego Entities without further order of

       the Court;

ii.    Restraining the Razon Enjoined Parties from transferring, assigning,

       selling, conveying, devising, pledging, mortgaging, creating a security

       interest in, encumbering, foreclosing, concealing, or in any manner dealing

       in or disposing of the whole or part of any funds or other assets of Razon

       (or in which he holds an interest) in the United States, including any and all

       funds held in bank accounts or otherwise in the United States and any

       securities held in securities accounts or otherwise in the United States,

       without further order of the Court;

iii.   Restraining the Razon Enjoined Parties from taking any actions that will

       impair, harm, or reduce the value of Razon’s assets, including his direct and

       indirect ownership interest in the Alter Ego Entities, without further order

       of the Court;

iv.    Restraining the Razon Enjoined Parties from taking any actions that will or

       would tend to materially impair, defeat, divert, prevent, or prejudice the

       preservation of Razon’s assets, including his direct and indirect ownership

       interest in the Alter Ego Entities, without further order of the Court;

 v.    Requiring the Razon Enjoined Parties to account to Plaintiff (and any

       receiver appointed by the Court) for any and all property interests Razon

       may have in and to assets located in the United States; and




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            vi.        Enjoining the Razon Enjoined Parties from otherwise interfering with

                       Plaintiff’s right (and the rights of any receiver appointed by the Court) to

                       enforce the Alter Ego Debt against Razon and his assets.

ON COUNT IV:

       E.       For preliminary and permanent injunctive relief preventing the Bloomberry

Enjoined Parties from taking any and all actions that would violate Plaintiff’s rights with respect

to this action and tend to render any judgment against the Debtor Defendants and their assets in

the United States ineffectual, including without limitation:

              i.       Restraining the Bloomberry Enjoined Parties (including Razon) from

                       facilitating or effectuating the transferring, assigning, selling, conveying,

                       devising, pledging, mortgaging, creating a security interest in,

                       encumbering, foreclosing, concealing, or in any manner dealing in or

                       disposing of the whole or part of any asset of the Debtor Defendants without

                       further order of the Court;

             ii.       Restraining the Bloomberry Enjoined Parties from transferring, assigning,

                       selling, conveying, devising, pledging, mortgaging, creating a security

                       interest in, encumbering, foreclosing, concealing, or in any manner dealing

                       in or disposing of the whole or part of any funds or other assets of the Debtor

                       Defendants in the United States, including, without limitation, any real

                       property, personal property, funds held in bank accounts or otherwise in the

                       United States, securities held in securities accounts or otherwise in the

                       United States, and ownership interest in any other entity, without further

                       order of the Court;




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            iii.      Restraining the Bloomberry Enjoined Parties from taking any actions that

                      will impair, harm, or reduce the value of the Debtor Defendants’ assets,

                      including their respective direct and indirect ownership interest in any other

                      entity, without further order of the Court;

            iv.       Restraining the Bloomberry Enjoined Parties from taking any actions that

                      will or would tend to materially impair, defeat, divert, prevent, or prejudice

                      the preservation of the Debtor Defendants’ respective assets, including their

                      direct and indirect ownership interest in any other entity or venture, without

                      further order of the Court;

             v.       Requiring the Bloomberry Enjoined Parties to account to Plaintiff (and any

                      receiver appointed by the Court) for any and all property interests the

                      Debtor Defendants may have in and to assets located in the United States;

                      and

            vi.       Enjoining the Bloomberry Enjoined Parties from otherwise interfering with

                      Plaintiff’s right (and the rights of any receiver appointed by the Court) to

                      enforce the Judgment Debt against the Debtor Defendants and their assets.

ON COUNT V:

       F.      For an order preliminarily and permanently directing Razon to take all actions

necessary to cause Deutsche Bank to release the Option Shares to Plaintiff without restriction,

including without limitation causing the dismissal of any pending proceedings in the RTC and

dissolution of the preliminary writs, providing any written consents required by Deutsche Bank

from Razon, the Debtor Defendants, or Prime, and otherwise causing the Debtor Defendants and

Prime to comply with the arbitral tribunal’s directives in the Final Award.




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          G.      For an award of damages suffered by Plaintiff as a result of Razon’s trespass,

intermeddling and interference with the Option Shares in an amount to be determined at trial, but

in any event no less than $196,000,000, plus interest, attorneys’ fees, and costs.

          H.      For an award of punitive damages based on Razon’s willful, intentional and

unlawful actions, which were taken in conscious, deliberate, and wanton disregard for Plaintiff’s

rights.

ON ALL COUNTS:

          I.      For such other and further relief as the Court determines Plaintiff is entitled to or

should receive.

DEMAND FOR JURY TRIAL

          Plaintiff demands a jury trial on all issues so triable.




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Dated: March 28, 2022   Mintz, Levin, Cohn, Ferris, Glovsky and Popeo,
New York, New York      P.C.

                        Respectfully submitted,

                        By: /s/ Kevin N. Ainsworth___
                             Robert I. Bodian
                             Kevin N. Ainsworth
                             Jason P.W. Halperin
                             Barry A. Bohrer
                             Kaitlyn A. Crowe
                             Iris B. Greenquist
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